                                                         Monolines Ex. 54
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                              Desc:
                        Monolines Ex. 54 Page 1 of 40
                                                      Government of Puerto Rico
                                                   Search Date: 2nd day of July 2018
                                                 Good Through Date: 1stdayofJuly2018
                                                         Standard RA9 Search




       Filer Information
                             Name: Gutierrez Elizabeth
                              Email: egutierrez@rcpsc.com


   If you have any questions or concerns regarding this Search Report, please contact a UCC specialist at (787) 722-2121 ext. 4401.



       Search Criteria


       Nam e as Provided:
       Organization Name            Puerto Rico Highway and Transportation Authority

       Name Searched:
       Organization Name            Puerto Rico Highway and Transportation Authority


   · Lien Type Searched:            UCC
       Lien Status Type Searched:   Active
   1




   1   Address:                     [Not Provided]




                                                                                                                               HTA_ST AY0000269
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                       Desc:
                        Monolines Ex. 54 Page 2 of 40
   Search Results


   Financing Statement
   File Number             2014002566
   File Number             UCC Fi nancing Statement
   Filing Date             Fri May 16 00:00:00 AST 2014
   Lapse Date              Thu May 16 00:00:00 AST 2019
   Debtor
   Name                    PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                 NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa[\y
   Name                    HOLDERS OF ALL BONDS ISSUED UNDER THE 1968 RESOLUTI ON (AS DEFINED BELOW)
   Address                 ONE WORLD FINANQAL CENTER, NEW YORK, NY, 10281,US

   History
     Filing Number       Filing Name/Type                               Filed Date       Number of Pages
     2014002566          UCC1 - UCC Financi ng Statement                05/16/20 14      2

   Financing Statement
   File Num ber            2014003809
   File Number             UCC Finan ci ng Statement
   Filing Date             Mon Aug 04 00:00:00 AST 201 4
   Lapse Date              Sun Aug 04 00:00:00 AST 2019
   Debtor
   Name                    PU ERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                 NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa[\y
   Name                    HOLDERS OF ALL BONDS ("1 998 RESOLUTION BONDS'') ISSU ED UNDER RESOLUTION 98-06
   Address                 1675 BROADWAY, 34TH FLOOR, NEW YO RK, NY, 10019,US

   History
     Filing Number       Filing Name/Type                               Filed Date       Number of Pages
     2014003809          UCC1 - UCC Financing Statement                 08/04/2014       1

   Financing Statement
   File Number             2014004847
   File Number             UCC Financing Statement
   Filing Date             Tu e Sep 09 00:00:00 AST 2014
   Lapse Date              Mon Sep 09 00:00:00 AST 2019
   Debtor
   Name                    PUERTO RICO HIG HWAY AND TRANSPORTATION AUTHORITY
   Add ress                NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Paffi'.
   Name                    HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESO LUTION
   Address                 ONE WALL STREET, NEW YORK, NY, 10286,US

   History
     Filing Number       Filing Name/Type                               Filed Date       Number of Pages
     20 14004847         UCC1 - UCC Financing Statement                 09/09/2014       3

   Financing Statement




                                             UCC Search Report - 1

                                                                                                             HTA_STAY0000270
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                              Desc:
                        Monolines Ex. 54 Page 3 of 40
       File Num ber              2014002568
       File Number               ucc Financing Statement
       Filing Date               Fr i May 16 00:00:00 AST 2014
       Lapse Date                Th u May 16 00:00:00 AST 2019
       Debtor
       Name                      PUERTO RICO HIGHWAY AND TRANSPO RTATION AUTHORITY
       Address                   NOT_AVAILABLE, NOT_AVAILAB LE, PR, 00000,US
       Secured Pa!!:i:
       Name                      ASSURED FIR THE BENEITT OF HOLDERS OF ALL BONDS UNDER THE 1968 REOLUTION (AS DEFINED
       BELOW)
       Add ress                  31 W. 52ND ST., #26, NEW YORK, NY, 10019,US

       Hi sto ry
         Filing Number         Filing Nametrype                                Filed Date     Number of Pages
         20 14002568           UCC 1 - UCC Fin ancing Statement                05/16/2014     2


       Financing Statement
       File Number               201 4003810
       File Num ber              UCC Financing Statement
       Filin g Date              Mon Aug 04 00:00:00 AST 2014
       Lapse Date                Sun Aug 04 00:00:00 AST 2019
       Debtor
       Name                      PUERTO RICO HI GHWAY AND TRANSPORTATION AUTH ORITY
       Add ress                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
       Sec;ured Pa[!y
       Name                     AMBAC ASSURAN CE CORPORATION ("AMBAC") FOR BE NEITT OF HOLDERS OF ALL BONDS (" 1998
       RESOLUTION BONDS") ISSUED UNDER RESOLUTION 98-06
       Add ress                  ONE STATE ST REET PLAZA, NEW YOR K, NY, 10004,US

       History
         Filing Number         Filing Nametrype                                Filed Date     Number of Pages
         2014003810            UCC 1 - UCC Finan cing Stat ement               08/04/20 14    1


       Financing Statement
       Fil e Number              20 14004846
       File Number               UCC Financing St atem ent
       Fi ling Date              Tue Sep 09 00:00:00 AST 2014
       Lapse Date                Mon Sep 09 00:00:00 AST 2019
       Debtor
       Name                      PU ERTO RICO HI GHWAY AND TRANSPORTATIO N AUTHORITY
       Add ress                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
       Secured Pa !!:i:
       Name                      HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESO LUTION
       Address                   ONE WALL STREET, NEW YORK, NY, 10286,US

       History
         Filing Number         Filing Nametrype                                Filed Date     Number of Pages
         2014004846            UCC1 - UCC Finan cing Statement                 09/09/2014     2
   I




       Financing Statement
       File Number               2014003807
       File Number               UCC Financi ng State ment




                                                    UCC Search Report - 2


                                                                                                                HTA_STAY0000271
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                        Desc:
                        Monolines Ex. 54 Page 4 of 40
   Filing Date              Mon Aug 04 00:00:00 AST 2014
   Lapse Date               Sun Aug 04 00:00:00 AST 2019
   Debtor
   Name                     PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa!!Y
   Name                      AMBAC ASSURANCE CORPORATION (AMBAC) FOR BENEFIT OF HOLDERS OF ALL BONDS (" 1968
   RESO LUTION BONDS") ISSUED UNDER RESOLUTION 68-1 8
   Address                  ONE STATE STREET PLAZA, NEW YORK, NY, 10004,US

   History
     Filing Number        Filing Name/Type                               Filed Date       Number of Pages
     2014003807           UCC1 - UCC Financing Statement                 08/04/2014       1

   Financing Statement
   Fil e Number             2014003808
   File Number              UCC Financing Statement
   Filing Date              Mon Aug 04 00:00:00 AST 2014
   Lapse Date               Sun Aug 04 00:00:00 AST 2019
   Debtor
   Name                     PUERTO RICO HIGHWAY AND TRANSPORTATION AUTH ORITY
   Add ress                 NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa!!Y
   Name                     HOLDERS OF ALL BONDS (''1968 RESOLUTION BON DS") ISSUED UNDER RESO LUTION 68-18
   Address                  1675 BROADWAY, 34TH FLOOR, NEW YORK, NY, 10019,US

   Hist ory
     Filing Number        Filing Name/Type                               Filed Date       Number of Pages
     2014003808           UCC1 - UCC Financing Statement                 08/04/2014       1

   Financing Statement
   File Number              2014004845
   File Number              UCC Financi ng Statement
   Filing Date              Tue Sep 09 00:00:00 AST 20 14
   Lapse Date               Mon Sep 09 00:00:00 AST 2019
   Debtor
   Na me                    PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa!!Y
   Name                     HO LDERS OF ALL BONDS ISSUED UNDER TH E 1998 RESO LUTION
   Address                  ONE WALL STREET, NEW YORK, NY, 10286,US

   History
     Filing Number        Filing Name/Type                               Filed Date       Number of Pages
     201400484S           UCC1 - UCC Financing Statement                 09/09/2014       3




                                              UCC Search Report - 3


                                                                                                              HTA_STAY0000272
     Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                             Desc:
                             Monolines Ex. 54 Page 5 of 40
/




                                                                                                2014002566
    UCC FINANCING STATEMENT
    FOLLOW INSTRUCTIONS

    A. NAME & PHONE OF CONTACT AT FILER (optional)

    B. E-MAIL CONTACT AT FILER (optional)

    C. SEND ACKNOWLEDGMENT TO:                        (Name and Addrass)                                                                                                       ~   .. , - ......~•· y ,.. .. ~.--.i

      I Cadwalader, Wickersham & Taft LLP                                                                 7
            Attention: Lary Stromfeld
            One World Financial Center
            New York, NY 10281
      L                                                                                                   _J
                                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    1. DEBTOR'S NAME: ProV:de only mm Debtor name (1a or 1b) (use exact. fl.Ill name: do notoml~ modify, or abbravlate any part of tile Debtors name); if any part af tha Individual Debtors
       name wm not fit In tine 1b, leave en of Item 1 blank, check hare          O
                                                                        end provide the lndMduaJ Debtor lnfcrmeUon In Item 10 of the Financing Statement Addendum (Form UCC1Ad)
         1a. ORGANIZATION'S NAME
         Puerto Rico Highway and Transportation Authority
    OR
         1b. lNDMDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                             ADDITIONAL NAM E(S)nNITIAL(S)                    SUFFIX



    1c. MAILINGADDRESS                                                                            CITY                                             STATE    IPOSTALCODE                            COUNTRY

    Minillas Government Center, South Building San Juan                                                                                            PR        00921                                   USA
    2. DEBTOR'S NAME: Prcvlde only l!llil Debtor name (2a or 2b) (use exact. M name; do not emit, modify. or abbravlate any pert or the Debtors name);~ eny part of the Individual Debtors
       name wlU not flt In line 2b, leave au of Item 2 blank, tlleck hara        O end provide Iha lndlvfdual Debtor lnfonnation In Item 10 of the Financing Statement Addendum (Form UCC1Ad)
         2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                              ADDITIONAi.. NAME(S)/INITIAL(S)                  SUFFIX


    2c. MAILING ADDRESS                                                                           CITY                                             STATE    I
                                                                                                                                                            POSTAL CODE                             COUNTRY



    3 SECURED PARTY'S NAME (er NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only~ Secured Party name (3a er 3b)
         3a. ORGANIZATION'S NAME
         Holders of all Bonds issued under the 1968 Resolution (as defined below)
    OR
         3b. lNOIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX



    3c. MAILING ADDRESS                                                                            CITY                                            STATE    rOSTAL CODE                             COUNTRY

     One World Financial Center                                                                    New York                                        NY        10281                                   USA
    4. COLLATERAL: This financing statement cover.a Iha following collateral:
     Pursuant to that certain Resolution 69-18 adopted on June 13, 1968 (the "1968 Resolution"), all of the Debtor's right, title,
     and interest in and to "Revenues," which include, without limitation, (i) all moneys received by the Debtor on account of
     gasoline tax allocated to the Debtor by Act No. 75 of 1965; (ii) tolls or charges imposed by the Debtor for the use of any of the
     Debtor's traffic facilities, including, without limitation, (a) all highway, road, thoroughfare, speedway, bridge, and tunnel toll
     facilities, and (b) all parking lots and similar facilities; (iitl proceeds of any other taxes, fees, or charges which the Legislature
     bas allocated to the Debtor and for which the Debtor is expressly authorized to pledge to the repayment of the Bonds; and
     (iv) funds and accounts pledged as security for Bonds and investment earnings therein. Capitalized terms used herein and
     not otherwise defined herein will have the meanings given to such terms in the 1968 Resolution.




    5. Che<:K !l!!lt If applicable end check !l!!l?s'. one box: Collateral Is   O held In a Trust (see UCC1Ad, 11am 17 end lnslrudlons) 0 being admln!sterad by a Decedent's Per.aonar ReprasentaUve
    Sa. Check .2llll! lf appl!cabla and check m one box:                                                                                    6b. Check m lf applicable and check m one box:
         ll] Publle.Flnance Transaction             O Manufactured-Home Transaction                O A Debtcr Is a Transmitting UUl!ty          O Agrloultural Lien      O Non-UCC Filing
    7. ALTERNATIVE DESIGNATION (lf applicable):               0 Lessee/Lessor               O Consignee/Consignor            O Saffer/Buyer         O Sallee/Bailor          O Licensee/Licensor
    8. OPTIONAL FIL ER REFERENCE DATA:


                                                                                                                             lntematlonal Association of Commercial Administrators (IACA)
    FILING OFFICE COPY -                UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20111)




                                                                                                                                                                                                HTA_ST AY0000273
      Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                      Desc:
                              Monolines Ex. 54 Page 6 of 40

                                         Instructions for UCC Financing Statement {Form UCC1)
                                                                                                                                  _
                                                                                                                                  :_c:,p._ ~-•~~f?EG!ST
Please type or laser-print this form. Be sure lt ls completely leglble. Read and follow all Instructions, especially Instruction 1; u·se•ot       ' ,       ~E
       for the Debtor Is crucial.                                                                                                                     - I'/£RC!A !
Fill In form very carefully; mistakes may have important legal consequences. If you have questions, consult your attorney. The1J1lmi o ~ cannot give               '·
       legal advice.                                                                                                                .,,,.., t'h j  6 AH ro
                                                                                                                                                   /
Send completed form and any attachments to the filing office, with the required fee.                                                                      11 : !.J  9
ITEM INSTRUCTIONS

A and 8. To assist filing offices that might wish to communicate with filer, filer may provide Information ln item A and item B. These Items are optional.
C. Complete Item C if filer desires an acknowledgment sent to them. If filing In a filing office that returns an acknowledgment copy furnished by filer,
    present simultaneously with this form the Acknowledgment Copy or a carbon or other copy of this form for use as an acknowledgment copy.

1.     Debtor's name. Carefully review applicable statutory guidance about providing the debtor's name. Enter only one Debtor name in Item 1 - either
       an organization's name (1a)m: an individual's name(1b). If any part of the Individual Debtor's name will not fit In line 1b, check the box·initemJ,
       leave all of item 1 blank, check the box In Item 9 of the Financing Statement Addendum (Form UCC1Ad) and enter the Individual Debtor name in· ~- .-,,..
       item 10 of the Financing Statement Addendum (Form UCC1Ad). Enter Debtor's correct name. Do not abbreviate words that are not already
       abbrevlated in the Debtor's name. If a portlon of the Debtor's name consists of only an Initial or an abbreviation rather than a full word, enter only
       the abbreviatlon or the initial. If the collateral is held in a trust and the Debtor name ls the name of the trust, enter trust name in the Organization's
       Name box ln Item 1a.

1a. Omanfzajinn nehtnr Name. "Organization Name" means the name of an entity that Is not a natural person. A sole proprietorship is not an
    organization, even If the individual proprietor does business under a trade name. lf Debtor Is a registered organization (e.g., corporation, llmlled
    partnership, llmited llabillty company), It Is advisable to examine Debtor's current filed public organic records to determine Debtor's correct name.
    Trade name is insufficient If a corporate ending (e.g., corporation, llmlted partnership, limited llabillty company) Is part of the Debtor's name, it must
    be Included. Do not use words that are not part of the Debtor's name.

1b. I ndivldual Debtor Name. "Individual Name• means the name of a natural person; this Includes the name of an Individual doing business as a sole
    proprietorship, whether or not operating under a trade name. The tenn includes the name of a decedent where collateral ls being administered by
    a personal representative of the decedent The term does not Include the name of an entity, even if it contains, as part of the entity's name, the
    name of an Individual. Prefixes (e.g., Mr., Mrs., Ms.) and titles (e.g., M.D.) are generally not part ofan indlvldual name. lndicatlons of lineage (e.g.,
    Jr., Sr., Ill) generally are not part of the lndMdual's name, but may be entered in the Suffix box. Enter indlvldual Debtor's surname (family name)
    In lndivlduars Surname box, first personal name in First Personal Name box, and all additional names In Addltlonal Name(s)/lnltlal(s) box.

       If a Debtor's name consists of only a single word, enter that word In Individual's Surname box and leave other boxes blank.

       For both organization and Individual Debtors. Do not use Debtor's trade name, OBA, AKA, FKA, division name, etc. In place of or combined with
       Debtor's correct name; filer may add such other names as additional Debtors If desired (but this is neither required nor recommended).

1c. Enter a mallfng address for the Debtor named In Item 1a or 1b.

2.     Additional Debtor's name. If an addltlonal Debtor is Included, complete item 2, determined and formatted per Instruction 1. For addltional Debtors,
       attach either Addendum (Form UCC1Ad) or Addltional Party (Form UCC1AP) and follow Instruction 1 for determining and formatting additional
       names.

 3.    Secured Party's name. Enter name and malllng address for Secured Party or Assignee who will be the Secured Party of record . For additional
       Secured Pa riles, attach either Addendum (Form UCC1 Ad) or Addltfonal Party (Form UCC1 AP). If there has been a full assignment of the lnltlal
       Secured Party's right to be Secured Party of record before filing this form, either (1) enter Assignor Secured Party's name and mailing address In
       Item 3 of this form and file an Amendment (Form UCC3) [see item 5 of that form]; or (2) enter Assignee's name and mailing address in Item 3 of
       this form and, if desired, also attach Addendum (Form UCC1Ad) giving Assignor Secured Party's name and mailing address In item 11.

 4.    Collateral. Use Item 4 to Indicate the collateral covered by this financing statement If space in item 4 is Insufficient, continue the collateral
       description In ltem 12 of the Addendum (Form UCC1Ad) or attach addltlonal page(s) and Incorporate by reference in item 12 (e.g., Sea Exhibit A).
       Do not Include social security numbers or other personally ldentlflable Information.

 Note: lf this financing statement covers timber to be cut, covers as-extracted collateral, and/or Is filed as a fixture filing, attach Addendum (Form
 UCC1Ad) and complete the required Information In items 13, 14, 15, and 16.

 5.     If collateral Is he!d in a trust or being administered by a decedent's personal representative, check the appropriate box In Item 5. If more than one
        Debtor has an Interest in the described collateral and the check box does not apply to the Interest of all Debtors, the filer should consider filing a
        separate Financing statement (Form UCC1) for each Debtor.

 6a. If thls financing statement relates to a Public-Finance Transaction, Manufactured-Home Transaction, or a Debtor Is a Transmitting Utility, check
     the appropriate box in item 6a. If a Debtor Is a Transmitting Utility fil!.d. the Initial financing statement ls filed In connection with a Public-Finance
     Transaction or Manufactured-Home Transaction, check m:!lY that a Debtor Is a Transmltling UHlity.

 6b. If this is an Agricultural Lien (as defined In appllcable state's enactment of the Uniform Commercial Code) or if this Is not a UCC security Interest
     filing (e.g., a tax lien, Judgment lien, etc.), check the appropriate box In Item 6b and attach any other items required under other law.

 7.     Alternative Designation. If filer desires (at filer's option) to use the designations lessee and lessor, consignee and consignor, seller and buyer
        (such as In the case of the sale of a payment lntanglble, promissory note, account or chattel paper), bailee and bailer, or licensee and llcensor
        Instead of Debtor and Secured Party, check the appropriate box In Item 7.

 a.     Optional Filer Reference Data. This item Is optional and Is for filer's use only. For filer's convenience of reference, filer may enter in item 8 any
        Identifying Information that Hier may find useful. Do not Include soclal security numbers or other personally Identifiable information.




                                                                                                                                               HTA_STAY000027 4
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                                  Desc:
                        Monolines Ex. 54 Page 7 of 40


                            ESTADO LIBRE ASOCIADO DE

                            PUERTO RICO
                            DEPARTAMEN
     Registro de Transacciones Co                                      2014003809                                                                                                   14 AIJG-4 ~Mff: 56
DECLARACl6N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRUCCIONES/ FOLLOW INSTRUCTIONS

 A. NOMBRE Y NUMERO OE CONTACTO (opcional) / NAME & PHONE OF' CONTACT AT FILER (optional)


 B. CORREO aECTRONICO DE CONTACTO (opclonal) / E-MAIL CONTACT AT FILER (opUonao


C, ENVIAR CONFIRMACION A (Nombre y Dlraccl6n) ; I SEND ACKNOWLEDGMENT TO: (Nam• and Address)


   ~ent Fox LLP                                                                                                             7
   Attention: David Dubrow
    1675 Broadway
   ~ewYork, NY 10019                                                                                                        _J                             EL ESPACIO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO
                                                                                                                                                           THE ABOVE SPACE IS FOR FIUNG OFFICE USE OHL Y
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Provea s6Io un nombre de Deudor {18 o 1b) (use el nombre comp l~                                         ••acto. no omlla. modlfique o abrevl e nlngiln
   compone nte dal nombre); sl olg~n aparte del nombre del Oeudor no cebe en la llnea 1b, d6Jela an b\anco, marque aqulLJY provaa la lnlormacl6n del Deudor Individual
   en el rengl6n 10 del Ane]o a la Declaracl6n de Flnanclemlento (Forma UCC1AdPR) / Provide only one Dobler name (1s or 1b) (u;re • ~ full name: do not omit, modify, or
   abbreviate any pert of the Debtor's name); Jf any part cf tha /nd/vfduaJ D9btor's name w!I( not flt in line 1b, leave ell of llem 1 blank. chec!< here   and provide the Individual Debtor LJ
   info rmation In llem 10 of the Rnano/ng Statement Addendum (Form UCC1AdPR)

     1a. NOMBRE OE LA ENTIDAD I ORGANIZATION'S NAME

     Puerto Rico Highway and Transportation Authority
o-                                                                                                                                                                            SEGUNDO NOMBRE I ADD/TfONAL
     1b. APELUDO / INDIVIDUAL'S SURNAME                                                                        NOMBRE I FIRST PERSONAL NAME                                                                              SUFIJO
                                                                                                                                                                              NAME                                       /SUFFIX


1c. OIRE:CCION POSTAL I MAILING ADDRESS                                                                        CIUDAD / CITY                                                  ESTADO ICODIGO POSTAL/ POSTAL PAIS
                                                                                                                                                                              STATE      CODE                            COUNTRY
     Minillas Government Center, South Building, Floor 17 San Juan                                                                                                            PR         00940                           USA

2. NOMBRE DEL DEUDOR/ DEBTOR'S NAME: Provea solo un Oeudor ediclona t (2a o 2b) (Use el nombro comp l eto y exacto; no omlta , modlflquo o abrevle nlngune
   part& del nombre). Si cualqu ler part e do un nombro no cuplore en el el ospaclon provlsto en Jo 2b, dej a todo le secclon 2 en blanco, marque aqulOy proves ol nombr e
   compl olo en al r engl6n 10 en el Ane rjo de la Declara ci 6n da Flnanciamiento (For ma UCC1AdPR) / Provide only Q!!.e Debtor name (2a or 2b~•• exsct, full name; do not omit,
   modify, or abbrevislo any part of the Deb/or's nsmo); if eny pert of the Individual Debtor's name wlll not min Jin• 2b, loave all of llem 2 blenk, chock heroL._Jand provide the lndMduel Debtor
   information In ttem 10 of the Financing Statement Addendum (Form UCC1AdPR)

     2a. NOMBRE OE LA ENTIOAD / ORGANIZATION'S NAME


OR
     2b. APEL LIDO/ INDIVIDUAL'S SURNAME                                                                       NOMSRE I FIRST PERSONAL NAME                                   SEGUNDO NOMBRE / ADDfrJONAL                SUFIJO
                                                                                                                                                                              NAME                                       SUFFIX

2c. DIRECCION / MAILING ADDRESS                                                                                CIUDAD / CITY                                                  ESTADO ICODIGO POSTAL I POSTAL PAIS
                                                                                                                                                                              STATE   CODE                   COUNTRY

3. ~ ..             Ut:.L                     '-'"IV\l'I II.<.Auv (o NOMBRE DE CESIONARIO): Provea solo un n ombre de Acreedor Garanllzado (3a o 3b)
     SECURED PARTY'S NAME (or NAME of ASSIGNEE) · Provide only one Secured Party name (3B or 3b)
     3a. NOMSRE OE LA ENTI DAD I ORGANIZATION'S NAME

     Holders of all bonds ("1998 Resolution Bonds") issued under Resolution 98-06.
OR
     3b. APELLIDO I INDIVIDUAL'S SURNAME                                                                       NOMBRE I FIRST PERSONAL NAME                                   SEGUNDO NOMBRE I ADDITIONAL                SUFIJO
                                                                                                                                                                              NAME                                       SUFFIX

3c. DIRECCION POSAl I MAILING ADDRESS                                                                          CJUDAD / CITY                                                  ESTADO ICODJGO PCSTAl/ POSTAl PAIS
                                                                                                                                                                              STATE      CODE                            COUNTRY
     1675 Broadway, 34th Floor                                                                                  New York                                                      NY         10019                            USA
4. COLATERA!..: Esta dedaracr6n de financram1ento cub re la s1guIente colateral: /                                        COLLATERAL: Thrs financrng statemrmt covers the followrng collateral:
 All of the Debtor's rights, title, and Interest in and to {i) all moneys on accounl of taxes on crude oil and crude oil derivative products received by, or allocatec
 to, the Debtor pursuant to Act No. 34 of 1997, as amended; {ii) up to $20 million per fiscal year on account of cigaratte tax received by, or allocated to, the
 Debtor pursuant to Act No. 30 of 2013, as amended; 0ii) tolls or other charges imposed by the Debtor for the use of roads, avenues, streets, thoroughfares,
 speedways, bridges, tunnels, channels, stations, terminals, any other land or water transportation fa cllltJes, pari<ing lots and structures and other facilities for
 parking, loading or unlosding of vehicles and vessels other than those for which 1968 Resolution Bonds were or wm be issued; (vi) funds and accounts
 pledged as security for the 1998 Resolution Bonds and investment earnings therein ; and (v} the proceeds of any other taxes, fees or charges that the
 Legislature of Puerto Rico has allocated or may hereaftsr allocate to the Authority and authorize the Authority to pledge to the payment of principal and
 interest on bonds or other obligations of the Authority.
5. Marque solo sl apllca y solo una QPci6n; Co
(v~ase UCC1MPR, rengl6n 7 e lnsln.Jcdones)
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 ALTERNAnVf! DESIGNATION (II eppl/csbJe) ;

8. DATOS OPCIONALES DE Rl:FERENCIA PAfl.A EL
SOLICITANTE / OPTIONAL F'IL.l;R REFERENCE DATA :

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 Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                               Desc:
                         Monolines Ex. 54 Page 8 of 40


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                                                                                                                              ,. ,. ',N5:\CC!ONES COMERC! r 1
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
    A. NAME & PHONE OF CONTACT AT FILER (optional}

    B. E-MAJl CONTACT AT FILER (optional}


 ,c. SEND ACKNOWLEDGMENT TO: (Name and Address)
     r                  CorpOration Service Company
                                                                                                   7
                        801 Adlai Stevenson Drive

                        Springfield, IL 62703
     L                   -
                                                                                                   _j                   TIIE ABOVE SPACE IS FOR RUNG OFFICE USE ONLY
1. DEBTOR'S NAME:Ptmridconly~ Oebl0rll8Clle (1a or 1b) [use e.act. full name; do net cmtt, m<,dify or abb<9\llabl ,my port of Um Ool>ton. name~ If any partoltlle lodlvidJal Oeb!or's
     AS1119 wi~ not Ill In lne 1t>, JeQ1l8 all af l!vRI 1 t>lanl<, cllaCI< here □ MS provlllB lhe lndivtdual Deblo· inlorma!lon I• item 10 ol Uig Flnanctng Slalemenl Addendum (Form UCCIA~)
         1n. ORGANIZATION'S NAME
               PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY
OR
         1b. INOMDUAL'S SU!'lNAMe                                                         F!R.::.1 PERSONAL NAME                               AOOITIONAL NME{S~JNmAl.(S)               SUFFlX


 le. MAILING ADDRESS
      Minillas Government Center, South Building
                                                                                          C:TY
                                                                                          San Juan
                                                                                                                                               STATE
                                                                                                                                                 PR
                                                                                                                                                         IPOSTAi.CODE
                                                                                                                                                          00921
                                                                                                                                                                                        COUNTRY
                                                                                                                                                                                        USA
2. DEBTOR'S NAME: Prowle only a Debtor neme (ZB er 2b) (use exz,cL full name; Ila M! am~. mccify, or ebbre.ia!e any part or lhe Debtor's name); If any pert ol lhe lndrfklual Oebloz'•
                                                                   O
   name will net Iii In line :11>, lea,,s aD al lelll 2 blank. dl&ck here aro provide l1'e tndhlicuat Oeblor in!ormallon In ilem to ol lhe Flnsrr.lng Sl.alemeot Ad<lendum (Ferm UCC1Ad)
         2a. ORGANIZATION'S NAME

OR
         2b INOMOUAL'S SURNAME                                                            FIRST PERSONAL NAME                                  AOD!'TlONAI. NAME{S)llNITlAl.(S)       . S\.IFFIX


2c MA!UNG ADDRESS                                                                         C,TY                                                 STAlE     IPOSTALCOOE                    COUN'iR"f



3    SECURED PARTY'S NAME (or NAME Of ASSIGNEE o1 ASSIGl'ICR SECURED PARTYt- Pr0>1de !ll'lly !l!i!: Seeuced Pany name ('.la or 3tif
         :'la . ORGANIZATION'S NAME
               HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESOLUTION •
OR
         3b INDMOUAL'S SURNAWE                                                            FIRST PERSONAL NMIE                                  ADDmOMAL N.\',lE{SYJNITlALIS)            SUFFlX


·ac MAJUNG ADDRESS
      One Wall Street
                                                                                          CITY
                                                                                          New York
                                                                                                                                               STATE
                                                                                                                                                 NY
                                                                                                                                                         IPOSTAL CODE
                                                                                                                                                           10286
                                                                                                                                                                                        COUNTRY
                                                                                                                                                                                        USA
4. COLLATERAL: This tllalldlllj lll'atemenl cave,s Ille roua-mng collaler.11:


           -     REFER TO EXHIBIT A ATTACHED HERETO, INCORPORATED HEREIN BY REFERENCE AND MADE A
     PART HEREOF.

                                           Exhibit A attached hereto consists of two pages. -


     •  HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE PUERTO RICO
     HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26, 1998, TOGETHER WITH ALL
     AMENDMENTS THERETO THEREAFTER AS THEREIN PERMITTED



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6a Che<'.J<                                                                                                             6b. Che:k2!lh£ if allf)licuble aM Cllecl< 2!!ll onet;.or.
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7. ALTERNATIVE OESIGNATlON f,! ;,r,r,lit;sllk) 0 L9SS8e/Lesso,          D C<,,,SJfl'l'!':,C,.,,lslrin,,, 0 Seller/Buyer                                     □~
8 OPTIONALFILERREFERENCEOATA:                                                                                                                                        286583 - 003
     Filed with: Services Commercial Transactions Registry of the Puerto Rico Department of State
                                                                                                                      ln!ematiooal Association of Commercial Administrators (IACA)
FIUNG OFFICE COPY-- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)




                                                                                                                                                                                  HTA_ST A Y0000276
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                             Desc:
                        Monolines Ex. 54 Page 9 of 40




                                              EXHIBIT A
                                                   TO                              ,,,11t ~ro - 9 Pt1 2= 59
                    UNIFORM COMMERCIAL CODE FINANCING STATEMENT , .·


    DEBTOR:

                  PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY
                  Minillas Government Center, South Building
                  San Juan, Puerto Rico 00921

    SECURED PARTY:

    HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE
    PUERTO RICO HIGHWAYS AND TRANSPORTATION AlITHORITY ON FEBRUARY 26,
    1998, TOGETHER WITH ALL AMENDMENTS THERETO THEREAFTER AS TIIEREIN
    PERMITfED
                          One Wall Street
                          New York, New York 10286

                                    COLLATERAL DESCRIPTION

             Pursuant to that certain Resolution No. 98-06 adopted on February 26, 1998 (as the same
    maybe amended or supplemented from time to time, the "1998 Resolution"), all of the Debtor's
    right, title and interest in and to (a) all "Revenues," which include, without limitation, (i) all
    moneys received by the Debtor on account of the crude oil tax allocated to the Debtor by Act No.
    34, approved July 16, 1997, as amended, (ii) all Existing Tax and Fee Revenues upon the repeal
    and cancellation of the 1968 Resolution, (iii) any tolls or other charges imposed by the Debtor
    for the use of any of the Toll Facilities other than Existing Toll Facilities Revenues received by
    the Debtor prior to the repeal and cancellation of the 1968 Resolution and (iv) the proceeds of
    any other taxes, fees or charges which the Legislature of Puerto Rico has allocated or may in the
    future allocate to the Debtor and has expressly authorized or in the future expressly authorizes
    the Debtor to pledge to the payment of the principal of and interest on bonds or other obligations
    of the Debtor and which are pledged by the Debtor to the payment of the principal of and interest
    on bonds or other obligations issued under the provisions of the 1998 Resolution, and investment
    earnings on deposits to the credit of funds established under the provisions of the 1998
    Resolution, (b) the Puerto Rico Highways and Transportation Authority Transportation Revenue
    Bonds Interest and Sinking Fund (and all accounts created therein by or pursuant to the 1998
    Resolution, including without limitation, the "Senior Bond Service Account," •'Senior Bond
    Redemption Account," and «Senior Bond Reserve Account") , the Puerto Rico Highways and
    Transportation Authority Subordinated Transportation Revenue Bonds Jnterest and Sinking Fund
    (and all accounts created therein by or pursuant to the 1998 Resolution, including without
    limitation, the "Subordinated Bond Service Account" and "Subordinated Bond Redemption
    Account"), the Puerto Rico Highways and Transportation Authority Subordinated Transportation
    Revenue Bonds Reserve Fund (and all accounts created therein by or pursuant to the 1998
    Resolution), the Puerto Rico Highways and Transportation Authority Transportation Revenue
    Fund (and all accounts created therein by or pursuant to the 1998 Resolution) and the Puerto



    710972992 14458010                         Page 1 of2




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Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                     Desc:
                       Monolines Ex. 54 Page 10 of 40



                                                                                  REGl$_T~RQ o~r . , ~ (', I •
    Rico Highways and Transportation Authority Transportation ConstructioiiP.tlifd}l~~s'p&i"fil.filtla · ·
    created and designated by th<: 1998 Resolution and all other accounts an~.~ ~,.,.cr:?,teq,RY S9   'l
    pursuant to the 1998 Resolution; and (c) all proceeds and products of the foregomg/ 1 1

             When used herein. the following terms have the following meanings:

    "1968 Resolution" means Resolution No. 68- 18 adopted by the Debtor on June 13, 1968, as
    amended by supplementafresolutions of the Debtor adopted on February 17, 1972, October 29,
    1990, June 23, 1992, July 15, 1993 (effective September 8, 1993) and August 10, 1993, together
    with all amendments thereto thereafter as therein pemritted.

    "1968 Resolution Bonds" means aH bonds issued under the 1968 Resolution.

    ''Existing Tax and Fee Revenues" means ( l) the proceeds of the sixteen cents a gallon tax
    imposed on gasoline and one-half of the eight cents per gallon tax imposed on gas oil and diesel
    oil imposed by Subtitle B of Act No. 120, approved October 31, 1994, as amended, and allocated
    to the Debtor by Act No. 223 of November 30, 1995, as amended, and by said Act's predecessor
    statutes and (2) the proceeds of the $15 increase per vehicle of annual motor vehicle license fees
    imposed by the Commonwealth of Puerto Rico and allocated to the Debtor by Act No. 9,
    approved August 12, 1982.

    "Existing Toll Facilities Revenues" means the tolls or other charges imposed by the Debtor for
    the use of any Traffic Facilities financed in whole or in part by the issuance of 1968 Resolution
    Bonds, including any extensions, betterments or improvements to such Traffic Facilities added
    after the issuance of bonds under the provisions of Section 207 of the 1998 Resolution however
    financed or otherwise paid for.

    ''Toll Facilities" means any Traffic Facilities for which the Debtor imposes tolls.

    'Traffic Facilitiesn means any of the following facilities for which 1968 Resolution Bonds or
    bonds or other obligations shall be issued by the Debtor under the provisions of the 1998
    Resolution the cost of which facilities paid from the proceeds of such bonds or other obligations
    shall not have been reimbursed to the Debtor from funds not encumbered by the 1998 Resolution
    or the 1968 Resolution:

             (1) roads, avenues, streets, thoroughfares, speedways, bridges, tunnels, channels, stations,
                 terminals and any other land or water faci lities necessary or desirable in connection
                 with the movement of persons, freight, vehicles or vessels;
             (2) parking lots and structures and other facilities necessary or desirable in connection
                 with parking, loading or unloading of all kinds of vehicles or vessels; and
             (3) all property rights, easements, and interests therein necessary or desirable for the
                 construction, maintenance, control, operation or development of such traffic facilities.




    710972992 14458010                             Page 2 of2




                                                                                                           HTA_STAY0000278
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                        Desc:
                       Monolines Ex. 54 Page 11 of 40


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                                                                                    2014002568                                             201q N.n' 16 AM IQ: l.18
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

A. NAME & PHONE OF CONTACT AT FILER (optlonal)


B. E-MAIL CONTACT AT FILER (optional)


C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                                                              ·----·~•--·
  I Cadwalader, Wickersham & Taft LLP                                                           7
        Attention: Lary Stromfeld
        One World Financial Center
        New York, NY 10281
  L                                                                                             _J
                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only~ Debtor name (1a or 1b) (use exact, full name; do notomtt. modify, or abbreviate any part of the Debtors name); If any part of the Individual Debtors
   name will not flt In line 1b, leave all 0f ham 1 blanl<. check here D
                                                                       and provide the Individual Debtor lnfonnation In Item 10 of the Flnanclng Statement Addendum (Form UCC1Ad)
     1a. ORGANIZATION'S NAME
     Puerto Rico Highway and Transportation Authority
OR
     1b. lNDMDUAL'S SURNAME                                                             FIRST PERSONAL NAME                             ADDITIONAL W\ME(S)ilNITTAL(S)          SUFFIX


1c. MAJUNG ADDRESS                                                                      CITY                                            STATE    IPOSTALCODE                   COl.JNTRY
Minillas Government Center, South Building San Juan                                                                                     PR        00921                         USA
2. DEBTOR'S NAME: Provide only llJlli Debtor name (2a or 2b) (use exact, full name; do not omit, modify. or abbreviate any part of the Debtor's name); if any part of the Individual Debtors
   name wm no! flt In line 2b, leave all of Item 2 blank, check here   O and provide Iha Individual Debtor lnforma~on In Item 1Oof the Financing Statement Addendum (Fam, UCC1Ad )
     2a. ORGANIZATION'S NAME


OR
     2b. INDMDUAl'S SURNAME                                                             FIRST PERSONAL NAME                             ADDITIONAL NAME(S)nNITIAL(S)           SUFFIX


2c. MAILING ADDRESS                                                                     CITY                                            STATE    IPOSTALCODE                   COUNTRY



3 SECURED PAR1Y'S NAME (or NAME 0f ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only J2Jl§ Secured Party name (3a or 3b)
     3a. ORGANIZATION'S NAME

     Assured for the benefit of Holders of all Bonds under the 1968 Resolution (as defmed below)
OR
     3b. INDMDUAl'S SURNAME                                                             FIRST PERSONAL NAME                             ADDITIONAL NAME(S)IINrTIAL(S)          SUFFIX


3c. MAILINGADDRESS                                                                      CITY                                            STATE    I POSTALCODE                   COUNTRY
 31 W. 52nd St., #26                                                                     New York                                        NY        10019                        USA
4. COLLATERAL: This financing statement covara the following colleleraJ:
 Pursuant to that certain Resolution 69wl8 adopted on June 13, 1968 (the "1968 Resolution"), all of the Debtor's right, title,
 and interest in and to "Revenues," which include, without limitation, (i) all moneys received by the Debtor on account of
 gasoline tax allocated to the Debtor by Act No. 75 of 1965; (ii) tolls or charges imposed by the Debtor for the use of any of the
 Debtor's traffic facilities, including, without limitation, (a) all highway, road, thoroughfare, speedway, bridge, and tunnel toll
 facilities, and (b) all parking lots and similar facilities; (iii) proceeds of any other taxes, fees, or charges which the Legislature
 has allocated to the Debtor and for which the Debtor is expressly authorized to pledge to the repayment of the Bonds; and
 (iv) funds and accounts pledged as security for Bonds and investment earnings therein. "Assured" means Assured
 Guaranty Corp. and Assured Municipal Corp. (formerly known as Financial Security Assurance Inc.). Capitalized terms
 used herein and not otherwise defined herein will have the meanings given to such terms in the 1968 Resolution.




5. Check~ If a~plleable and check SlLlfx one box: Collateral Is    O held In a Trust (see UCC1Ad, Item 17 and Instructions) D being administered by a Decedent's Person al Represenlative
6a. Check .Qlll)'. if applicable and check m one box:                                                                             6b. Check g    ~ applicable and check   m one bax:
     [Z] Pubilc-Flnance Transaction  D Manufaciured-Home Transacllon D A Debtor Is a Transmlttlng Utifoty   D Agricu~ural Uan D Non-UCC Fifing
7. ALTERNATIVE DESIGNATION (if applicable): D Lessee/Lessor         O Consignee/Consignor    D s enar/Buye,  D Bailee/Ballar   D Llcensee/Ucensor
8. OPTIONAL ALER REFERENCE DATA:


                                                                                                                  International Association of Commercial Administrators HACA)
FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)




                                                                                                                                                                           HTA_ST AY0000279
 Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                           Desc:
                        Monolines Ex. 54 Page 12 of 40

                                        Instructions for UCC Financing Statement (Form UCC1)
                                                                                                                           r:;' \ ,.,,, ,   REGIS-"R
Please type or laser-print this form. Be sure it is completely legible. Read and follow all Instructions, espec!ally lnstructiofi' '1f~ .ftllnJB · ame
       for the Debtor is crucial.                                                                                                              -  1c:.R C!,iu_

Fill in form very carefully; mistakes may have important legal consequences. If you have questions, consult your attomam1P,1:1;fi'irnl of!jce canno.t give
       legal advice.                                                                                                        ·· ~ ' • 114 f  r o AMIQ:
Send completed form and any attachments to the filing office, with the required fee.                                                                  • Lf    8
ITEM INSTRUCTIONS

A and B. To assist filing offices that might wish to communicate with filer, filer may provide Information in Item A and item 8. These items are optional.
C. Complete item C if filer desires an acknowledgment sent to them. If filing in a filing office that returns an acknowledgment copy furnished by filer,
    present simultaneously with this fonn the Acknowledgment Copy or a carbon or other copy of this form for use as an acknowledgment copy.

1.   Debtor's name. carefully review applicable statutory guidance about providing the debtor's name. Enter only one Debtor name in item 1 - either
     an organization's name (1a) Qr an Individual's name (1b). If any part of the Individual Debtor's name will not fit in line 1b, check the·box ln.lt!lrQ).,
     leave all of Item 1 blank, check the box In Item 9 of the Financing Statement Addendum (Fann UCC1Ad) and enter the Individual Debtor name               m'· ,
     item 10 of the Financing Statement Addendum (Form UCC1Ad). Enter Debtor's correct name. Do not abbreviate words that are not already
     abbreviated in the Debtor's name. If a portion of the Debtor's name consists of only an initial or an abbreviation rather than a full word, enter only
     the abbreviation or the initial. If the collateral is held in a trust and the Debtor name Is the name of the trust, enter trust name In the Organization's
     Name box in item 1a.

1a. Qrganjzatjon Debtor Name. "Organization Name• means the name of an entity that is not a natural person. A sole proprietorship is not an
    organization, even If the individual proprietor does business under a trade name. If Debtor is a registered organization (e.g., corporation, limited
    partnership, limited liability company), it is advisable to examine Debtor's current filed public organic records to detellTline Debtor's correct name.
    Trade name Is Insufficient. If a corporate ending (e.g., corporation, limited partnership, limited liability company) is part of the Debtor's name, it must
    be included. Do not use words that are not part of the Debtor's name.

1b. Individual Debtor Name. "Individual Name" means the name of a natural person; this includes the name of an individual doing business as a sole
    proprietorship, whether or not operating under a trade name. The term includes the name of a decedent where collateral is being administered by
    a personal representative of the decedent. The term does not include the name of an entity, even if it contains, as part of the entity's name, the
    name of an individual. Prefixes (e.g., Mr., Mrs., Ms.) and titles (e.g., M.D.) are generally not part ofan individual name. Indications of lineage (e.g.,
    Jr., Sr., 111) generally are not part of the individual's name, but may be entered in the Suffix box. Enter individual Debtor's surname (family name)
    in Individual's Surname box, first personal name in First Personal Name box, and all addltlonal names in Additional Name(s)/lnitial(s) box.

     If a Debtor's name consists of only a single word, enter that word in Individual's Surname box and leave other boxes blank.

     For both nmanlzation and indiyidual Debtors. Do not use Debtor's trade name, DBA, AKA, FKA, division name, etc. in place of or combined with
     Debtor's correct name; filer may add such other names as additional Debtors if desired (but this is neither required nor recommended).

1c. Enter a mailing address for the Debtor named in item 1a or 1b.

2.   Additional Debtor's name. If an additional Debtor Is included, complete item 2, determined and formatted per Instruction 1. For additional Debtors,
     attach either Addendum (Form UCC1Ad) or Additional Party (Form UCC1AP} and follow Instruction 1 for determining and formatting additional
     names.

3.   Secured Party's name. Enter name and mailing address for Secured Party or Assignee who will be the Secured Party of record. For additional
     Secured Parties, attach either Addendum (Form UCC1 Ad) or Additional Party (Form UCC 1AP). If there has been a full assignment of the Initial
     Secured Party's right to be Secured Party of record before filing this form, either (1) enter Assignor Secured Party's name and mailing address in
     item 3 of this form and file an Amendment (Form UCC3) {see item 5 of that form]; or (2) enter Assignee's name and mailing address In item 3 of
     this form and, if desired, also attach Addendum (Form UCC1Ad) giving Assignor Secured Party's name and mailing address in item 11 .

4.   Collateral. Use item 4 to indicate the collateral covered by this financing statement. If space In item 4 is Insufficient, continue the collateral
     descriptlon In item 12 of the Addendum (Form UCC1Ad) or attach additional page(s) and incorporate by reference in item 12 (e.g., See Exhibit A).
     Do not include social security numbers or other personally identifiable information.

Note: If this financing statement covers timber to be cut, covers as-extracted collateral, and/or Is filed as a fixture filing, attach Addendum (Fann
UCC1Ad) and complete the required information in items 13, 14, 15, and 16.

5.   If collateral is held in a trust or being administered by a decedent's personal representative, check the appropriate box in item 5. If more than one _
     Debtor has an interest in the described collateral and the check box does not apply to the interest of all Debtors, the filer should consider filing a
     separate Financing Statement (FollT! UCC1 ) for each Debtor.

6a. If this financing statement relates to a Public-Finance Transaction, Manufactured-Home Transaction, or a Debtor is a Transmitting UUlity, check
    the appropriate box in item 6a. If a Debtor is a Transmitting Utility am! the initial financing statement Is filed in connection with a Public-Finance
    Transaction or Manufactured-Home Transaction, check          mthat a Debtor is a Transmitting Utility.

6b. If this is an Agricultural Lien (as defined in applicable state's enactment of the Uniform Commercial Code) or if this is not a UCC security interest
    filing (e.g., a tax lien, Judgment lien, etc.), check the appropriate box In Item 6b and attach any other Items required under other law.

7.   Alternative Designation. If filer desires (at filer's option) to use the deslgnaUons lessee and lessor, consignee and consignor, seller and buyer
     (such as in the case of the sale of a payment intangible, promissory note, account or chattel paper), bailee and ballor, or licensee and licensor
     instead of Debtor and Secured Party, check the appropriate box In item 7.

8.   Optional Filer Reference Data. This item Is optional and Is for filer's use only. For filer's convenience of reference, filer may enter in Item 8 any
     identifying information that filer may find useful. Do not include social security numbers or other personally idenUfiable information.




                                                                                                                                               HTA_STAY0000280
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                        Desc:
                       Monolines Ex. 54 Page 13 of 40


                         ESTADO LIBRE ASOCIADO DE

                         PUERTO RICO
                         DEPARTA MENTO DEE
     Registro de Transacciones Comerciali                                2014003tJ10
0ECLARACl6N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRUCCJONES/ FOLLOW INSTRUCTIONS
A. NOMBRE Y NUMERO DE CONTACTO (opdonal] I NAME & PHONE OF CONTACT AT FILER (optfom,Q


B. CORREO ELECTRONICO DE CONTACTO (opdonal) / E•MATL CONTACT AT FILER (opVonsQ



C. ENVIAR CONFIRMACIQN A (Nomb<e y Dlrer;ciQn): I SEND ACKNOWLEDGMENT TO: (Nems and Aeldrsss)


     fArent Fox LLP                                                                                  7
      Attention: David Dubrow
      1675 Broadway
     l.!:i_ew York, NY 10019                                                                         _J                  EL ESPACIO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO
                                                                                                                         THE ABOVE SPACE IS FOR F/LJNG OFFICE USE ONLY
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Prov es s6Io un nombre de Deudor (1e o 10) (use er nomore comp!~                                                 execto, no omits. modlfique o abrevie nl ng(m
     componente de! nombre); sl algun aparte de! nombre de! Deudor no csbe en I• llnea 1 b, dejela en olanco, marque aqulLJY prov es la lnformacl6n del Deudor Individual
     en el r engl6n 10 del Anejo e la Declaraci6n de Flnanclamlento (Forma UCC1AdPRJ / Provfrfo only 2!li Deotor nsme (la or 1b) (uso • ~ fulr name; do not omn, modify, or
     Dborsviato any part of the Debror's nDme); if ony port of the Individual Debtor'• namo wil/ not fit in l{ne 1b, leave all of ltBm 1 b!snk. check hsro         LJ
                                                                                                                                                           and provfds lbs tnd!vidual Debtor
     information in #em 10 of th• Finsnc/ng StsfemBnt Addendum (Form UCC1AdPR)

      1a. NOMBRE DE LA ENTIDAD / ORGANIZATION'S NAME

      Puerto Rico Highway and Transportation Authority
OR
      10. APELLIDO I INDIVIDUAL'S SURNAME                                                  NOMBRE I FIRST PERSONAL NAME                           SEGUNDO NOMBRE / ADDITTONAL             SUFIJO
                                                                                                                                                  NAME                                    !SUFFIX


1c. DIRECCION POSTAL I MAILING ADDRESS                                                     CIUDAD / CITY
                                                                                                                                                  STATE
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                                                                                                                                                          CODE                  COUNTRY
      VERIFY [Minillas Government Center, South Building] San Juan                                                                                PR      00940                  USA
2. NOMBRE DEL DEUDOR/ DEBTORS NAME: Provea s6Io un Deudor adlclona l (2a o 2b] (Uoe el nombre completo y exaclo; no omits, rnod1flque o abrevle nlngune
   part& del nombre ). SI cualquJer parte de 1.1n nombra no cuplera en el el esp.scion provlsto on la 2b, deJe tads la seccl6n 2 en blanco, matq ue aqu lDy provee el nombre
     complete en al reng t6n 10 en el Anerjo de la Declaraci6n de Financiaml ento (Form• UCC1AdPR) / Provide only Q!!!/. 0..btor name (2a or 2b) (usa axsct, full nama; do not om«,
     modify, or ebbrovfats any psrt of the Deblllr's nams); If any pert of the Individual Debtor's n•m• will not fit in line 2b, /<Jave al{ of ilom 2 b(enk, check here0 •nd provide the lndlvldua! Debtor
     informotion In ~•m 10 of the Financing Statement Addendum (Form UCC1ArlPR)

      2a. NOMBRE DE LA ENTIDAD / ORGANIZA T/ON'S NAME


OR 2b. APELLIDO ! INOIV(DUAL'S SURNAME                                                                                                            SEGUNDO NOMBRE / ADDfTfONAL              SUFIJO
                                                                                           NOMBRE I FIRST PERSONAL NAME
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2c. DIRECCION / MAILING ADDRESS                                                            CIUDAD I CITY                                          ESTADO I CCDIGO POSTAL/ POSTAL PAIS
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3.          UCL.           "''"''"'", ''-"'"'v (o NOMBRE DE CES IONARIO): Provea solo un nombre de Aoreedor Garantlzado (3a o 3b)
      SECURED PARTY'S NAME /or NAME of ASSIGIJEE): Provide only one Secured Party name (3a o r 3b)
      3a. NOMBRE DE I.A ENTIDAD / ORGANIZATION'S NAME

      Ambac Assurance Corporation ("Ambac") for benefit of holders of all bonds ("1998 Resolution Bonds") issued under Resolution 98-06.
OR
      3b. A.PELUDO I INDIVIDUAL'S SURNAME                                                   NOMBRE / FIRST PERSONAL NAME                          SEGUNDO NOMBRE / ADDmONAL                SUFlJO
                                                                                                                                                  NAME                                     SUFFIX

3c. DIRECCIQN POSAL / MAILING ADDRESS                                                       CIUDAO I CfTY                                         ESTADO I CODIGO POSTAL/ POSTAL PAIS
                                                                                                                                                  STATE    CODE                  COUNTRY
      One State Street Plaza                                                                New York                                              NY            10004                       USA
4. COLATERAL: Esta deciaracr6n de fina nc,amiento cubre la s,gu!ente colateral: / COLLATERAL: This financing statement covers the following co/lateral:
 All of the Debtor's rights, title, and interest in and to (i) all moneys on account of taxes on crude oil and crude oil derivative products received by, or allocatec
 to , the Debtor pursuant to Act No. 34 of 1997, as amended; (ii) up to $20 million per fiscal year on account of cigarette tax received by, or allocated to, the
 Debtor pursuant to Act No. 30 of 2013, as amended; (Ill) tolls or other charges imposed by the Debtor for the use of roads, avenues, streets, thoroughfares,
 speedways, bridges, tunnels, channels, stations, term inals, any other land or water transportation facilftles, parking lots and structures and other facilities for
 parking, loading or unloading of vehicles and vessels other than those for which 1968 Resolution Bonds were or will be issued; (vi) funds and accounts
 pledged as security for the 1998 Resolution Bonds and investment earnings therein; and (v) the proceeds of any other taxes, fees or charges that the
 Legislature of Puerto Rico has allocated or may hereafter allocate to the Authority and authorize the Authority to pledge to the payment of principal and
 interest on bonds or other obligations of the Authority.
5. Marque solo sl aplica y solo una opd6n: Col       eet.l   l]en posesl6n de un Fldelcomlso               Chock MJx if appl~b/8 8       ock mane box: Col/atom/ Is □ held In a Trust(~• UCC1AdPR,
(veasa UCC1AdPR, reng!on 7 o lnstruccioneo)         admlnlsirado por RepresenlaJ'lte de un dlfun!o         Item 17 and mrruc/Jons       bel   sdm/nlsterod b s Decadents Pe~ona/ Ra msentatiVo
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       Transaction                                                                          Tn,n$1T!ltt/ng U/Ulty

 7. DESIGNACIQN ALTERNA (sl apllca]
ALTERNAnVE DESIGNATION (U Bpp/lcable) :

8. DATOS OPCIONALES DE REFERENCIA PARA a
SOUCITANTE / OPTIONAL FILER REFERENCE DATA;


COPIA OFICINA DE REGISTR0-DECLARACI6N DE FINANCIAMIENTO (Forme UCC1PR) (Rev. 05/09/14)




                                                                                                                                                                                           HTA_ST AY0000281
   Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                    Desc:
                          Monolines Ex. 54 Page 14 of 40


                                                                            2014004846

UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
 A. NA.ME & PHONE OF CONTACT AT Fil.ER (opllonal)

 8. E-MAll CONTACT AT l'lt.ER (oplkmal)


 C. SEND ACKNOWLEDGMENT TO: (Name and Address)

   I                           Corporation Service Company                                               7
                                801 Adlai Stevenson Drtve
                                Sprfngfleld, IL 62703
   L                                                                                                     _j                   THE ABOVE SPACE IS FOR FILING OFFICE USE OM.Y
1. DEBTOR'S NAME: Ptov.de or:!y;mg_Dcbtet11111"8 {to or 1b) (uae-. ful r,ame: da na omJt. modify, or -..iate81ly part of Iha Deblo,'s , e1119); lfaaypar. ollh2 .lndMdiml Oeb!DI'•
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       14. ORGAHIZATION'S NAME
           PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
OR
       1b 1NDMOUA1.'S SURNAME.                                                                  FIRST PER$0111AL IWJE                               AOOITIONA1. NAME(SjllMTIAl..{S)          SUfF1X


 le Mi\lUNG ADDRESS
      Mln!Has Government Center, South Bulldlng
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                                                                                                                                                                                             USA
2. DEBTOR'S NAME: f'n:rvllk! 0IIIY mill Delll0r name (2a or Zbl (llSe exact. l\lll nami=; <to 1101 anlt. moi:llfy, "' abllnmB!e any p1111 of u,,, lh:bwr's name!; If aoy part ot 1118 ladl'ndual Oeblor'•
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       23. ORGANIZATJOl'/'S NAME

OR
       :2b INDMDlJAl.'S SURNAME                                                                 FlRST PERSOUAI. IWll5                               ADDITIONAL N/IMEtSll!Nl1lAL(S)           SZJl'l'lX


:le. 11.11>.ILING AOORESS                                                                       CITY                                                S7A7E     IPOSTALCOCE                    COIJWi'R'I"


3. SECURED PARTY'S NAME (or AAME of ASSIGNEE of ASSIGNOR SECURED PA~TY! PIOWle !JOiy C>ll8 Sacurea F;ur1 naa,e {la or 3b)
    3a. OOGANIZATION'S HAME
           HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESOLUTION •
OR
       31> ,NOMDl/AL'S SURNA!v!E                                                                FIRST PERSOHAL MM!:                                 AoomoNAL IWAE[SJIINfl1ALISi              SUffL'<

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 3c. ~!.All.ING ADDRESS
     One Wall Street
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                                                                                                New York                                            s~~T~     I102aiooe                      COllt'-rn'lY
                                                                                                                                                                                             USA
4. COLI.A~: This GnQIIClng &1a1esnen1 CCN8!S 1h11 follol:ltng C!lllaleral:


                -REFER TO EXHIBIT A ATTACHED HERETO, INCORPORATED HEREIN BY REFERENCE AND MADE A
     PART HEREOF. -


                                          - Exhibit A attached hereto consists of one page. -

   .. HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION NO. 98-06, ADOPTED BY THE PUERTO RICO
   HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26, 1998, TOGEll-tERWITH ALL
   AMENDMENTS 11-iERETO THEREAFTER AS THEREIN PERMITTED



6a. C~eci<2!J7ilap;:icable a1ddlackllll!l(OIJS bo:c:                                                                                         6b Chad<~ if appliaib'a Brni clied<m!!JI: or.~ t,ax:
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7 . Al.TERNATIVE .DESIGNATION (if B!ll)licab!e;:          □ L ~ o ,·                     □ Co-~                             □ SeneriBuysr
8. OPTIONAL FILER RE.FERENCE DATA:
  Filed with: Servlce6 Commercial Transactions Registry of the Puerto Rico Department of State           286 583 - 001
                                                                       lntemalional Association of Commercial Adminlstra!ors (IACA)
FlUNG OFACE COPY -                        UCC ANANCING STATEMENT {Form UCC1) (Rev 04/20/11)




                                                                                                                                                                                        HTA_STAY0000282
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                         Desc:
                       Monolines Ex. 54 Page 15 of 40




                                      EXHIBIT A
                                         TO              n --- g =--9_ __pi• -:i. 00
                     UNIFORM COMMERCIAL CODE FINANCING STA'FEl\llENT n J·


   DEBTOR:

                   PUERTO RlCO HIGHWAYS AND TRANSPORTATION AUTHORITY
                   Minillas Government Center, South Building
                   San Juan, Puerto Rico 00921

   SECURED PARTY:

    HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION NO. 9g:.06, ADOPTED BY
   THE PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY ON
   FEBRUARY 26, 1998, TOGETHER WITH ALL AMENDMENTS THERETO THEREAFTER
   AS THEREIN PERMITTED
                    One Wall Street
                    New York, New York 10286

                                   COLLATERAL DESCRIPTION

          The Puerto Rico Highways and Transportation Authority (the "Authority") has executed
   and delivered a certain Secmity Agreement dated as of February 7, 2002 and has granted to the
   holders of all bonds issued under the Authority's Resolution No. 98-06, adopted on February 26,
   1998, as amended (the "Resolution"), a security interest in (i) all Revenues (as defined in the
   Resolution) of the Authority, (ii) the Puerto Rico Highways and Transportation Authority
   Transportation Revenue Bonds Interest and Sinking Fund, as such term is defined in the
   Resolution (and all accounts therein maintained under the Resolution), (iii) the Puerto Rico
   Highways and Transportation Authority Transportation Revenue Fund, as such term is defined in
   the Resolution (and all accounts therein maintained under the Resolution), and (lv) all amounts
   on deposit and required to be on deposit therein by the terms of the ·Resolution including all
   proceeds and all after-acquired property, subject to applkation as permitted by the Resolution.




    710972g92 )44580 10                      Page 1 of 1




                                                                                              HTA_STAY0000283
 Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                Desc:
                        Monolines Ex. 54 Page 16 of 40

                         ESTADO LIBRE ASOCIADO DE
                         PUERTO R r r
                         DEPARTAMENTO DE EST                                        2014003807                                                                               14 AUG -4 AM U: 53
     Registro de Transacciones Comerciales


DECLARACl6N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRUCCIONES/ FOLLOW INSTRUCTIONS

 A. NOMBRE Y NllMERO DE CONTACTO (opdonel) I NAME & PHONE OF CONTACT AT FILER (optionaQ


B. COAAEO ELECTR0NtCO DE CONTACTO (cpclcnai) I E-L!AIL CONTACT AT FILER (optione!)


 C. ENVIAR CONFIRMACION A (Nombre y Dlrecct6n): I SEND ACKNOWLEDGMENT TO: (Name end Address)


   [°A;ent Fox LLP                                                                                             7
     Attention: David Dubrow

     1675 Broadway
   ~ew York, NY 10019                                                                                          _]                     EL ESPACIO ARRIEIA ES PARA USO DEL OFIC!AL DE REG!STRO
                                                                                                                                      THE ABOVE SPACE rs FOR FILING OFFICE USE ONL y
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Provea s61o un nombre de Oeudor [1e o 1b) (use el nombre comp!~                                         exectc, no omits, modlfique o ebrevle nlngun
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   en el renglon 10 del Anajo a le Decleracl6n de Flnancl emlanto (Fo rma UCC1AdPR) / Provide only~ Debtor name {1a or 1b) (use •-"/!£Ii full name; do not omM. modify, or
   abbroviale any p"11 of lho Debtor's name); 11 lJJ!y psrt of the lndMdusl Dab/or's nsmo will not fir In Jina 1b, leEWO ail of Uem 1 blank. chock here                    LJ
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   iMormellon in itom , 0 of lhe Financing Statement Addendum {Form UCC1AdPR)

     1a. NOMBRE DE LA ENT!DAO I ORGANIZAT/ON"S NAME
     Puerto Rico Highway and Transportation Authority ("Debtor'')
o~ 1b. A?ELLIDO I INDIVIDUAL'S SURNAME                                                                NOMBRE / FIRST PERSONAL NAME                        SEGUNDO NOMBRE / ADDrrJONAL                 SUFIJO
                                                                                                                                                          NAME                                        /SUFFIX

1c. DIRECCION POSTAL/ MAILING ADDRESS                                                                 CIUDAD I CITY                                       ESTADO ICODlGO POSTAL/ POSTAL PAIS
                                                                                                                                                          STATE CODE                    COUNTRY
     Minillas Government Center, South Building, Floor 17                                             San Juan                                            PR      00940                  USA
2. NOMBRE DEL DEUDOR/ DEBTOR'S NAME: Provea s61o un Deudor adlclonal (2a o 2b) (Use el nombro complete y exacto; no omits, modlflque o abrevle nlngune
   parte del nombre) . SI cualquler parte de un nombre no cup[ere en el el espaclon provlsto en Ia 2b, deJe tod'e la secc16n 2 en brsnco, merquo aqu rOy provea el nombre
   comp leto en el reng lon 10 en el AnerJo de la Declaraclon de Fl naneiamlento {Forms UCC1AdPR) I Provide only QM Dab/or name (2B or 2b2.l!!s• ersct. full name; do not omM,
   modify, or sbbravlate sny part of lh• Debrors name); ii any part of tne lncJ/vldual Debtor·s name will not fit In line 2b, ioave all of Item 2 blank. check hor•LJ•nd provide lho lndMdua/ DebtOI
   Jnfomiatlon In nem 10 of tho Flnsnc/ng Statement Addendum (Form UCC1AdPR)

     2a. NOMBRE DE LA ENTIDAD / ORGANIZATION'S NAME

OR
     2b. APELLIDO I INDIVIDUAL"S SURNAME                                                              NOMBRE / FIRST PERSONAL NAME                         SEGUNDO NOMBRE / ADDrrlONAL                SUFIJO
                                                                                                                                                           NAME                                       SUFFIX

2c. DIRECCION / MAILING ADDRESS                                                                       CIUDAD / CITY                                        ESTAOO ICODIGO POSTAL/ POSTAL PAIS
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3. ~"     Ut= L          '-'"'""'" I ILAUU (o NOMBRE DE CESIONARIO}: Proves solo un nombre de Acreedar Garantlzado (38 O 3b)
    SECURED PARTY'S NAME /or NM1E of ASSIGNEE)· Provide only one Secured Party name (3a or 3b)
     3e.. NOMBRE DE LA ENTIDAD / ORGANIZA TiON"S NAME
     Ambac Assurance Corporation ( " Ambac") for benefit of holders of all bonds ("1968 Resolution Bonds") issued under Resolution 68-18.
OR
     3b, Ai>ELL!DO I JNDJV/DUAL'S SURNAME                                                             NOMBRE I FIRST PERSONAL NAME                         SEGUNDO NOMBRE I ADDITIONAi-               SUFIJO
                                                                                                                                                           NAME                                       SUFFIX

3c. DIRECCION POSAL I MA/UNG ADDRESS                                                                  CIUDAD / CITY                                        ESTADO ICOOIGO POSTAL/ POSTAL PAis
                                                                                                                                                           STATE CODE                    COUNTRY
     One State Street Plaza                                                                           New York                                             NY      10004                  USA
4 . COLATERAL: Esta declarac,6n de financ,am,ento cubre la siguiente co!ateral: / COUA TERAL: Th is financing statement covers the following collaleral:
 All of the Debtor's rights, title, a nd interest in and to (i) all moneys on account of gasollne tax received by, Of allocate<! to, the Debtor pursuant to Act No. 75 of 1965. as
 amended; (ii} all moneys on account of tax on gas oil and diesel oil received by, or allocated to, the Debtor pursuant to Act No. 120 of 1994. as amended; (!Ji) all moneys on
 account ofmator vehlcle license fees received by, or allocated to, the Debtor pursuant to Act No. 141 of 1960, as amended; (Iv) up to $20 m illion per fiscal year on account
 al cigarette tax received by, or allocated to, the Debtor pursuant to Act No. 30 of 2013, as amended ; (v) tolls or other charges imposed by the Debtor for the use of roads,
 avenues, streets, thoroughfares. speedways, bridges, tunnels, channels, stations, terminals, any other land or water transportation facilltles, parking rots and structures and
 other facilities for parking, loading or unloading of vehicles and vessels for which 1968 Resolution Bonds were or wil be issued; (vi} funds and accounts pledged as security
 for the 1968 Resolution Bonds and Investment earnings therein; and (vi1) the proceeds of any other taxes, fees or charges that the Legislature of Puerto Rico has allocated o
 may hereafter allocate lo the Authority and authorize the Authority to pledge to the payment of principal and Interest on bonds or other obligations of the Authority.


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8. DATOS OPCIONALES DE REFERENCIA PARA EL
SOLICITANTE / OPTIONAL FILER REFERENCE DATA:


COPIA OFIC!NA DE REGISTR0-oECLARAC16N DE FINANCIAMIENTO {Forma UCC1PR) (Rev. 05/09114)



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Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                          Desc:
                       Monolines Ex. 54 Page 17 of 40

                         ESTADO LIBRE ASOCIADO DE

                         PUERTO RICO
                         DEPARTAMENTO DE i:r~• - -
     Registro de Transacciones Comercial                               2014003808                                                                    14 AUG -4
DECLARACIC>N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRVCCIONES/ FOLLOW INSTRUCTIONS

A. NOMBRE Y NOMERO DE CONTACTO {opclonal) I NAME & PHONE OF CONTACT AT FILER (optlonaQ


B. CORREO ELECTRONICO OE CONTACTO (opclonal) I E-MAIL CONTACT AT FILER (optloneQ


C. ENVIAR CONFIRMACIQN A (Ncmbre y Dlreecl6n): I SEND ACKNOWLEDGMENT TO: (Nsma and Addrass)


     f'Arent Fox LLP                                                                                   7
     Attention: David Dubrow
      1675 Broadway
     ~ew York, NY 10019                                                                                _J                             EL ESPAClO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO
                                                                                                                                      THE: ABOVE SPACE IS FOR RLING OFFICE: USE OHL Y
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Pr ovea s6Io un nombre de Deudor (1e o 1b] {use el nombre eompl~ exaclo, no omtta, mod!flque o abrevl e nlngun
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   (nforms~on in item 10 of Iha Financing Slatement Addendum (Form UCC1AdPR)

      1a. NOMBRE OE LA ENTIDAC / ORGANIZATION'S-NAME

      Puerto Rico Highway and Transportation Authority
0
      1b. APELLIOO / INDIVIDUAL'S SURNAME                                                  NOMBRE I FIRST PERSONAL NAME:                               SEGUNDO NOMBRE I ADDmONAL                SUFIJO
                                                                                                                                                       NAME:                                    /SUFFIX


1c. DIRECCION POSTAL/ MAILING ADDRESS                                                      CIUDAD / CITY                                               ESTADO I CODIGO POSTAL/ POSTAL PAJS
                                                                                                                                                       STATE      CODE                          COUNTRY
      Minillas Government Center, South Building, Floor 17 San Juan                                                                                     PR        00940                          USA
2. NOMBRE DEL DEUDOR/ DEBTOR'S NAME: Provea solo un Deudor adl clonal (2• o 2b) (Use el nombre comple to y exacto: no omits, mo<fl1Ique o ebrevle nlnguna
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     complelo en al ranglOn 10 en el Anerjo de la DeclaraclOn de Flnanciamlento (Form• UCC1AdPR) I Provide only llll!! Deblornamo (2a or 2bL.Luse exact, lull name; do nol om«,
     modify, or sbbravfate any pert ofths Debtor's neme): If any pert of the lndivicluel Debtor's name wf/1 not fd In line 2b, leave all of ftem 2 blank. chack nereLJend provide the lndMdual Debtor
     Information In item 10 of the Financing Stolement Addsndum (Form UCC1AdPR)

      2a. NOMBRE DE LA ENTIDAD I ORGANIZATION'S NAME


OR
      2b. APELLIDO / INDIVIDUAL'S SURNAME                                                  NOMBRE / FIRST PERSONAL NAME                                SEGUNDO NOMBRE / ADDITIONAL              SUFIJO
                                                                                                                                                       NAME;                                    SUFFIX

2c. DIRECCION / MAILING ADDRESS                                                            CIUDAD / CITY                                               ESTAOO ICCDIGO POSTAL/ POSTAL PAIS
                                                                                                                                                       STATE      CODE                          COUNTRY


3. ·~·          •.   UC:L"-          "   •N   1.:>Rtv-\N 1!LJ-\UV (o NOMBRE DE CESIONARJO): Provea solo un nombre de Acreedor Garantlzado (3a o 3b)
      SECURED PARTY'S NAME (or NAME of ASSIGNEE)· Provide only one Secured Party name (3a or 3b)
      3a. NOMBRE DE LA ENTIDAD I ORGANIZATION'S NAME

      Holders of all bonds ("1968 Resolution Bonds") issued under Resolution 68-18.
OR
      3b. APELUOO I INDIVIDUAL'S SURNAME                                                   NOMBRE / FIRST PERSONAi. NAME                               SEGUNDO NOMBRE / ADDITIONAL              SUFIJO
                                                                                                                                                       NAME                                     SUFFIX

3c. OIRECCIQN POSAL I MAILING ADDRF:SS                                                     CIUDAD / CITY                                               ESTADO I CCDIGO POSTAL I POSTAL PAIS
                                                                                                                                                       STATE      CODE                          COUNTRY
      1675 Broadway, 34th Floor                                                             New York                                                   NY         10019                          USA
4. COLATERAL: Esta declarac16n de finanaamIento cubre ta s1guIente colateral: / COLLATERAL: This finencmg statemGnl covers the following collateral:
All of the Debtor's rights, dfle, and interest in and to {i) all moneys on account of gasoline tax received by, or allocated to, the Debtor pursuant to Act No. 75 of 1965, as
amended; (ii) all moneys on account of tax on gas all and diesel oil received by. or allocated to, the Debtor pursuant to Act Na. 120 of 1994, as amended; (iii) all moneys on
account of motor vehicle license fees received by, or allocated to, th e Debtor pursuant to Act No. 141 of 1960, as amended; (Iv) l/PtO $20 mmlon per fiscal year on account
of cigarette tax received by, or allocated to, the Debtor pursuant to Act No. 30 of 2013. as amended; {v) tolls or other charges imposed by the Debtor for the use of roads,
avenues, streets, thoroughfares, speedways, bridges, tunnels, channels, stations, terminals, any other land or water transportation facilities, parking lots and structures and
other facTiities for parking, loading or unloading of vehicles and vessels for which 1968 Resolution Bonds were or will be issued; (vi) funds and accounts pledged as security
for the 1968 Reso!Utlon Bonds and Investment earnings therein; and (vii) the proceeds of any other taices, fees or charges that the Legislature of Puerto Rico has allocated o
may hereafter allocate to the Authortty and authorize the Authorlty to pledge to the payment of principal and Interest on bonds or other obligations of the Authority.


5. Marque solo sl apllca y oolo una cpcl6n: Co
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7. OESIGNAC ION ALTERNA (si opllca)
ALTERNATIVE OESJGNAT!ON (If applic8ble):
6. DATOS OPCIONALES DE REFERENCIA PARA El
SOLICITANTE I OPTIONAL FILER REFERENCE DATA:


COPIA OFICINA DE REGISTRO-OECLARACION DE FINANCIAMIENTO {Forms UCC1PRJ (Rev. 05109/14)



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          Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                         Desc:
                                 Monolines Ex. 54 Page 18 of 40
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      UCC FINAN.CING STATEMENT
      FOLLOW INSTRUCTIONS

       A. NAME & PHONE Of CONTACT AT FILER [optional)


       B. E-MAIL CONTACT AT FILER (oplionaf)


       C. SEND ACKNOWLEDGMENT TO: (Name and Address)


                                                                                                                     7
          '                            Corporation Service Company

                                       801 Adlai Stevenson Drive

          L                            Springfield, IL 62703                                                         _J                   TiiE ABOVE SPACE JS FOR FILING OFFICE USE ONLY
      1. DEBTOR'S NM1E: Provide only~ 0eblor name (1a or <b) (u,e eXBc\, fun name: do net omil, modify, or ebbn:-,iale any par! of the Oeblofs name): II ar.y pert of the Individual Debtor's
          name will not flt In line 1b, ·eave aH or Item 1 bl2nk, cileck l'.are       D anc provide the lndM:ruat Debtor inlorrn.ation In item 10 or the Fioancin; Slalemant Addendum (Form UCC1 Ad)
             1a ORCAN1ZATION'S NAME
                  PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
      OR
             1b ·N0MDUAL'S SURNAME                                                                          FlRSTPERS0NAl NA/,<E                                         AOOL71CNAL NAME(S}'INITIAL(S)                  SUfFI;(


       le MAILING ADDRE.SS
            Minilfas Government Center, South Building
                                                                                                            CITY
                                                                                                            San Juan
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                                                                                                                                                                                     P0S7Al CODE                        COUNTRY
                                                                                                                                                                                                                        USA
      2. DEBTOR'S NAME: ProVide only= Deblor name {2a or 2b) (use exact. full name: do not omit. modify or abbreviate any part of Inc O,::blor's nome): if a11y part or ltie lodl•it!ual ~blO<'s
           name Mil not fit in Rna 2b, leave Bil of Item 2 blank, cl'etk t,en,    0 and !"'Vide Lhe Individual □~btor inlorma!lon in item 1a oi the Financing Statement Adoendum {Form UCC1Ad) ·
             2a OOGANllAT!0N"S NAME

     OR
             2b ,'IDMOUAL'S SURNAME:                                                                        FlilST ?ERSONAL NAME                                        ADDITIONAL NAME(S}'INl'TIAl!S)                  SUFFL)(


      2c MAILING ADDRESS                                                                                    CIT(                                                         STATE     l POSTAL CODE                        COUNTRY



                                                                                                     -
      3.. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY• Prov de 0111v !!!!!; S•cure:l a>ariv N!Jlle l3a or 31>)
             3e. ORGANIZATION'S NAME
                 HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESOLUTION *
      OR     3b INDMDUAL'S SURNAME                                                                          FIRST PERSONAL i~AME           -·---                         ADDITIONAL NAME(S)IINITIAL{S)                  SUFFIX


       3c MAILING ADDRESS
            One Wall Street
                                                                                                            CITY
                                                                                                            New York
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                                                                                                                                                                         STATEI
                                                                                                                                                                           NY 10286
                                                                                                                                                                                     POS7AL CODE                        COUNTRY
                                                                                                                                                                                                                        USA
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      4. COLI.ATF.RAL: Tli.s. finanr.ing Slalemenl covers the fonovrin9 collateral:


             --· REFER TO EXHIBIT A ATTACHED HERETO, INCORPORATED HEREIN BY REFERENCE AND MADE A
           PART HEREOF. ---

                                                       Exhibit A attached hereto consists of two pages. - -


          .. HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE PUERTO RICO
          HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26, 1998, TOGETHER WITH ALL
          AMENDMENTS THERETO THEREAFTER.AS THEREIN PERMITTED


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      e. OPTIONA L Fllc:R REFERENCE DATA:
          Filed with: Services Commercial Transactions Registry of the Puerto Rico Department of State                                                                                          286583-004
                                                                                                                                        International Association of Commercial Administrators {IACA}
      FILING OFFICE COPY -                   UCC FINANCING STI\TI:MENT (FOl'm UCCl) [Rev M/20/~ 1)




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      Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                             Desc:
                             Monolines Ex. 54 Page 19 of 40
,,.



                                                    EXHIBIT A

                             UNIFORM COMMERCIAL c~~E FINANCING sPfA.1~1\.f~kfH3= 0 1


          DEBTOR:

                          PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
                          Minillas Government Center, South Building
                          San Jnan, Puerto Rico 00921

          SECURED PARTY~

          HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE
          PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26,
          1998, TOGETHER WITH ALL AMENDMENTS THERETO THEREAFTER AS THERE1N
          PERMITTED
                                   One Wall Street
                                   New York, New York 10286

                                          COLLATERAL DESCRIPTION

                   Pursuant to that certain Resolution No. 98-06 adopted on February 26, 1998 (as the same
                                                                   04
          maybe amended or supplemented from time to time, the 1998 Resolution"), all of the Debtor's
          right, title and interest in and to (a) all "Revenues," which include, without limitation, (i) all
          moneys received by the Debtor on account of the crude oil tax allocated to the Debtor by Act No.
          34, approved July 16, 1997, as amended, (ii) all Existing Tax and Fee Revenues upon the repeal
          and cancellation of the 1968 Resolution, (iii) any tolls or other charges imposed by the Debtor
          for the use of any of the Toll Facilities other than Existing Toll Facilities Revenues received by
          the Debtor prior to the repeal and cancellation of the 1968 Resolution and (iv) the proceeds of
          any other taxes, fees or charges which the Legislature of Puerto Rico has allocated or may in the
          future allocate to the Debtor and has expressly authorized or in the future expressly authorizes
          the Debtor to pledge to the payment of the principal of and interest on bonds or other obligations
          of the Debtor and which are pledged by the Debtor to the payment of the principal of and interest
          on bonds or other obligations issued under the provisions of the 1998 Resolution, and investment
          earnings on deposits to the credit of funds established under the provisions of the 1998
          Resolution, (b) the Puerto Rico Highways and Transportation Authority Transportation Revenue
          Bonds Interest and Sinking Fund (and all accounts created therein by or pursuant to the I 998
          Resolution, including without limitation, the "Senior Bond Service Account," "Senior Bond
          Redemption Account," and "Senior Bond Reserve Acc01mt") , the Puerto Rico Highways and
          Transportation Authority Subordinated Transportation Revenue Bonds Interest and Sinking Fund
          (and all accounts created therein by or pursuant to the 1998 Resolution, including without
          limitation, the "Subordinated Bond Service Account" and "Subordinated Bond Redemption
          Account"), the· Puerto Rico Highways and Transportation Authority Subordinated Transportation
          Revenue Bonds Reserve Fund (and all accounts created therein by or pursuant to the 1998
          Resolution), the Puerto Rico Highways and Transportation Authority Transportation Revenue
          Fund (and all accounts created therein by or pursuant to the 1998 Resolution) and the Puerto


          71 [)972992 14!158010                      Page 1 of 2




                                                                                                       HTA_STAY0000287
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                  Desc:
                       Monolines Ex. 54 Page 20 of 40



                                                                                         REG[SlRO 0£
      Rico Highways and Transportation Authority Transportation Construction Jfm\.~f•fi~"&~llfilii~RC! i~'
    · created and designated by th~ 1998 Resolution and all other accounts and fw.½?.-~~?~~~t~J,Y i9~ -:,: Ol
      pursuant to the 1998 Resolution; and (c) all proceeds and products of the foregduig.P 1 • ' .)

              When used herein, the following tenns have the fol]owing meanings:

     "1968 Resolution" means Resolution No. 68-18 adopted by the Debtor on June 13, 1968, as
     amended by supplemental resolutions of the Debtor adopted on February 17, 1972, October 29,
     1990, June 23, 1992, July 15, 1993 (effective September 8, 1993) and August 10, 1993, together
     with all amendments thereto thereafter as therein permitted.

     "1968 Resolution Bonds" means all bonds issued under the 1968 Resolution.

    "Existing Tax and Fee Revenues" means (I) the proceeds of the sixteen cents a gallon tax
    imposed on gasoline and one-half of the eight cents per gallon tax imposed on gas oil and diesel
    oil imposed by Subtitle B of Act No. 120, approved October 31, 1994, as amended, and allocated
    to the Debtor by Act No. 223 of November 30, 1995, as amended, and by said Act's predecessor
    statutes and (2) the proceeds of the $15 increase per vehicle of annual motor vehicle license fees
    imposed by the Commonwealth of Puerto Rico and allocated to the Debtor by Act No. 9,
    approved August 12, 1982.

     "Existing Toll Facilities Revenues" means the tolls or other charges imposed by the Debtc;ir for
     the use of any Traffic Facilities :financed in whole or in part by the issuance of 1968 Resolution
     Bonds, incluiling any extensions, betterments or improvements to such Traffic Facilities added
     after the issuance of bonds under the provisions of Section 207 of the 1998 Resolution however
     financed or othetwise paid for.

     "Toll Facilities" means any Traffic Facilities for which the Debtor imposes tolls.

     "Traffic Facilities" means any of the following facilities for which 1968 Resolution Bonds or
     bonds or other obligations shall be issued by the Debtor under the provisions of the 1998
     Resolution the cost of which facilities paid from the proceeds of such bonds or other obligations
     shall not have been reimbursed. to the Debtor from funds not encumbered by the 1998 Resolution
     or the 1968 Resolution:

              (1) roads, avenues, streets, thoroughfares, speedways, bridges, tunnels, channels, stations,
                  terminals and any other land or water facilities necessary or desirable in connection
                  with the movement of persons, freight, vehicles or vessels;
              (2) parking lots and structures and other facilities necessary or desirable in connection
                  with parking, loading or unloading of all kinds of vehicles or vessels; and
              (3) all property rights, easements, and interests therein necessary or desirable for the
                  construction, maintenance, control, operation or development of such traffic facilities.




     7109729-92 144S8O10                          Page 2 of 2




                                                                                                    HTA_STAY0000288
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                              Desc:
                       Monolines Ex. 54 Page 21 of 40
                                                      Government of Puerto Rico
                                                   Search Date: 2nd day of July 2018
                                                 Good Through Date: 1stdayofJuly2018
                                                         Standard RA9 Search




       Filer Information
                             Name: Gutierrez Elizabeth
                              Email: egutierrez@rcpsc.com


   If you have any questions or concerns regarding this Search Report, please contact a UCC specialist at (787) 722-2121 ext. 4401.



       Search Criteria


       Nam e as Provided:
       Organization Name            Puerto Rico Highway and Transportation Authority

       Name Searched:
       Organization Name            Puerto Rico Highway and Transportation Authority


   · Lien Type Searched:            UCC
       Lien Status Type Searched:   Active
   1




   1   Address:                     [Not Provided]




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Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                       Desc:
                       Monolines Ex. 54 Page 22 of 40
   Search Results


   Financing Statement
   File Number             2014002566
   File Number             UCC Fi nancing Statement
   Filing Date             Fri May 16 00:00:00 AST 2014
   Lapse Date              Thu May 16 00:00:00 AST 2019
   Debtor
   Name                    PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                 NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa[\y
   Name                    HOLDERS OF ALL BONDS ISSUED UNDER THE 1968 RESOLUTI ON (AS DEFINED BELOW)
   Address                 ONE WORLD FINANQAL CENTER, NEW YORK, NY, 10281,US

   History
     Filing Number       Filing Name/Type                               Filed Date       Number of Pages
     2014002566          UCC1 - UCC Financi ng Statement                05/16/20 14      2

   Financing Statement
   File Num ber            2014003809
   File Number             UCC Finan ci ng Statement
   Filing Date             Mon Aug 04 00:00:00 AST 201 4
   Lapse Date              Sun Aug 04 00:00:00 AST 2019
   Debtor
   Name                    PU ERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                 NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa[\y
   Name                    HOLDERS OF ALL BONDS ("1 998 RESOLUTION BONDS'') ISSU ED UNDER RESOLUTION 98-06
   Address                 1675 BROADWAY, 34TH FLOOR, NEW YO RK, NY, 10019,US

   History
     Filing Number       Filing Name/Type                               Filed Date       Number of Pages
     2014003809          UCC1 - UCC Financing Statement                 08/04/2014       1

   Financing Statement
   File Number             2014004847
   File Number             UCC Financing Statement
   Filing Date             Tu e Sep 09 00:00:00 AST 2014
   Lapse Date              Mon Sep 09 00:00:00 AST 2019
   Debtor
   Name                    PUERTO RICO HIG HWAY AND TRANSPORTATION AUTHORITY
   Add ress                NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Paffi'.
   Name                    HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESO LUTION
   Address                 ONE WALL STREET, NEW YORK, NY, 10286,US

   History
     Filing Number       Filing Name/Type                               Filed Date       Number of Pages
     20 14004847         UCC1 - UCC Financing Statement                 09/09/2014       3

   Financing Statement




                                             UCC Search Report - 1

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Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                              Desc:
                       Monolines Ex. 54 Page 23 of 40
       File Num ber              2014002568
       File Number               ucc Financing Statement
       Filing Date               Fr i May 16 00:00:00 AST 2014
       Lapse Date                Th u May 16 00:00:00 AST 2019
       Debtor
       Name                      PUERTO RICO HIGHWAY AND TRANSPO RTATION AUTHORITY
       Address                   NOT_AVAILABLE, NOT_AVAILAB LE, PR, 00000,US
       Secured Pa!!:i:
       Name                      ASSURED FIR THE BENEITT OF HOLDERS OF ALL BONDS UNDER THE 1968 REOLUTION (AS DEFINED
       BELOW)
       Add ress                  31 W. 52ND ST., #26, NEW YORK, NY, 10019,US

       Hi sto ry
         Filing Number         Filing Nametrype                                Filed Date     Number of Pages
         20 14002568           UCC 1 - UCC Fin ancing Statement                05/16/2014     2


       Financing Statement
       File Number               201 4003810
       File Num ber              UCC Financing Statement
       Filin g Date              Mon Aug 04 00:00:00 AST 2014
       Lapse Date                Sun Aug 04 00:00:00 AST 2019
       Debtor
       Name                      PUERTO RICO HI GHWAY AND TRANSPORTATION AUTH ORITY
       Add ress                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
       Sec;ured Pa[!y
       Name                     AMBAC ASSURAN CE CORPORATION ("AMBAC") FOR BE NEITT OF HOLDERS OF ALL BONDS (" 1998
       RESOLUTION BONDS") ISSUED UNDER RESOLUTION 98-06
       Add ress                  ONE STATE ST REET PLAZA, NEW YOR K, NY, 10004,US

       History
         Filing Number         Filing Nametrype                                Filed Date     Number of Pages
         2014003810            UCC 1 - UCC Finan cing Stat ement               08/04/20 14    1


       Financing Statement
       Fil e Number              20 14004846
       File Number               UCC Financing St atem ent
       Fi ling Date              Tue Sep 09 00:00:00 AST 2014
       Lapse Date                Mon Sep 09 00:00:00 AST 2019
       Debtor
       Name                      PU ERTO RICO HI GHWAY AND TRANSPORTATIO N AUTHORITY
       Add ress                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
       Secured Pa !!:i:
       Name                      HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESO LUTION
       Address                   ONE WALL STREET, NEW YORK, NY, 10286,US

       History
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         2014004846            UCC1 - UCC Finan cing Statement                 09/09/2014     2
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       Financing Statement
       File Number               2014003807
       File Number               UCC Financi ng State ment




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                       Monolines Ex. 54 Page 24 of 40
   Filing Date              Mon Aug 04 00:00:00 AST 2014
   Lapse Date               Sun Aug 04 00:00:00 AST 2019
   Debtor
   Name                     PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa!!Y
   Name                      AMBAC ASSURANCE CORPORATION (AMBAC) FOR BENEFIT OF HOLDERS OF ALL BONDS (" 1968
   RESO LUTION BONDS") ISSUED UNDER RESOLUTION 68-1 8
   Address                  ONE STATE STREET PLAZA, NEW YORK, NY, 10004,US

   History
     Filing Number        Filing Name/Type                               Filed Date       Number of Pages
     2014003807           UCC1 - UCC Financing Statement                 08/04/2014       1

   Financing Statement
   Fil e Number             2014003808
   File Number              UCC Financing Statement
   Filing Date              Mon Aug 04 00:00:00 AST 2014
   Lapse Date               Sun Aug 04 00:00:00 AST 2019
   Debtor
   Name                     PUERTO RICO HIGHWAY AND TRANSPORTATION AUTH ORITY
   Add ress                 NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa!!Y
   Name                     HOLDERS OF ALL BONDS (''1968 RESOLUTION BON DS") ISSUED UNDER RESO LUTION 68-18
   Address                  1675 BROADWAY, 34TH FLOOR, NEW YORK, NY, 10019,US

   Hist ory
     Filing Number        Filing Name/Type                               Filed Date       Number of Pages
     2014003808           UCC1 - UCC Financing Statement                 08/04/2014       1

   Financing Statement
   File Number              2014004845
   File Number              UCC Financi ng Statement
   Filing Date              Tue Sep 09 00:00:00 AST 20 14
   Lapse Date               Mon Sep 09 00:00:00 AST 2019
   Debtor
   Na me                    PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
   Address                  NOT_AVAILABLE, NOT_AVAILABLE, PR, 00000,US
   Secured Pa!!Y
   Name                     HO LDERS OF ALL BONDS ISSUED UNDER TH E 1998 RESO LUTION
   Address                  ONE WALL STREET, NEW YORK, NY, 10286,US

   History
     Filing Number        Filing Name/Type                               Filed Date       Number of Pages
     201400484S           UCC1 - UCC Financing Statement                 09/09/2014       3




                                              UCC Search Report - 3


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     Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                             Desc:
                            Monolines Ex. 54 Page 25 of 40
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                                                                                                2014002566
    UCC FINANCING STATEMENT
    FOLLOW INSTRUCTIONS

    A. NAME & PHONE OF CONTACT AT FILER (optional)

    B. E-MAIL CONTACT AT FILER (optional)

    C. SEND ACKNOWLEDGMENT TO:                        (Name and Addrass)                                                                                                       ~   .. , - ......~•· y ,.. .. ~.--.i

      I Cadwalader, Wickersham & Taft LLP                                                                 7
            Attention: Lary Stromfeld
            One World Financial Center
            New York, NY 10281
      L                                                                                                   _J
                                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    1. DEBTOR'S NAME: ProV:de only mm Debtor name (1a or 1b) (use exact. fl.Ill name: do notoml~ modify, or abbravlate any part of tile Debtors name); if any part af tha Individual Debtors
       name wm not fit In tine 1b, leave en of Item 1 blank, check hare          O
                                                                        end provide the lndMduaJ Debtor lnfcrmeUon In Item 10 of the Financing Statement Addendum (Form UCC1Ad)
         1a. ORGANIZATION'S NAME
         Puerto Rico Highway and Transportation Authority
    OR
         1b. lNDMDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                             ADDITIONAL NAM E(S)nNITIAL(S)                    SUFFIX



    1c. MAILINGADDRESS                                                                            CITY                                             STATE    IPOSTALCODE                            COUNTRY

    Minillas Government Center, South Building San Juan                                                                                            PR        00921                                   USA
    2. DEBTOR'S NAME: Prcvlde only l!llil Debtor name (2a or 2b) (use exact. M name; do not emit, modify. or abbravlate any pert or the Debtors name);~ eny part of the Individual Debtors
       name wlU not flt In line 2b, leave au of Item 2 blank, tlleck hara        O end provide Iha lndlvfdual Debtor lnfonnation In Item 10 of the Financing Statement Addendum (Form UCC1Ad)
         2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                              ADDITIONAi.. NAME(S)/INITIAL(S)                  SUFFIX


    2c. MAILING ADDRESS                                                                           CITY                                             STATE    I
                                                                                                                                                            POSTAL CODE                             COUNTRY



    3 SECURED PARTY'S NAME (er NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only~ Secured Party name (3a er 3b)
         3a. ORGANIZATION'S NAME
         Holders of all Bonds issued under the 1968 Resolution (as defined below)
    OR
         3b. lNOIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX



    3c. MAILING ADDRESS                                                                            CITY                                            STATE    rOSTAL CODE                             COUNTRY

     One World Financial Center                                                                    New York                                        NY        10281                                   USA
    4. COLLATERAL: This financing statement cover.a Iha following collateral:
     Pursuant to that certain Resolution 69-18 adopted on June 13, 1968 (the "1968 Resolution"), all of the Debtor's right, title,
     and interest in and to "Revenues," which include, without limitation, (i) all moneys received by the Debtor on account of
     gasoline tax allocated to the Debtor by Act No. 75 of 1965; (ii) tolls or charges imposed by the Debtor for the use of any of the
     Debtor's traffic facilities, including, without limitation, (a) all highway, road, thoroughfare, speedway, bridge, and tunnel toll
     facilities, and (b) all parking lots and similar facilities; (iitl proceeds of any other taxes, fees, or charges which the Legislature
     bas allocated to the Debtor and for which the Debtor is expressly authorized to pledge to the repayment of the Bonds; and
     (iv) funds and accounts pledged as security for Bonds and investment earnings therein. Capitalized terms used herein and
     not otherwise defined herein will have the meanings given to such terms in the 1968 Resolution.




    5. Che<:K !l!!lt If applicable end check !l!!l?s'. one box: Collateral Is   O held In a Trust (see UCC1Ad, 11am 17 end lnslrudlons) 0 being admln!sterad by a Decedent's Per.aonar ReprasentaUve
    Sa. Check .2llll! lf appl!cabla and check m one box:                                                                                    6b. Check m lf applicable and check m one box:
         ll] Publle.Flnance Transaction             O Manufactured-Home Transaction                O A Debtcr Is a Transmitting UUl!ty          O Agrloultural Lien      O Non-UCC Filing
    7. ALTERNATIVE DESIGNATION (lf applicable):               0 Lessee/Lessor               O Consignee/Consignor            O Saffer/Buyer         O Sallee/Bailor          O Licensee/Licensor
    8. OPTIONAL FIL ER REFERENCE DATA:


                                                                                                                             lntematlonal Association of Commercial Administrators (IACA)
    FILING OFFICE COPY -                UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20111)




                                                                                                                                                                                                HTA_ST AY0000317
      Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                      Desc:
                             Monolines Ex. 54 Page 26 of 40

                                         Instructions for UCC Financing Statement {Form UCC1)
                                                                                                                                  _
                                                                                                                                  :_c:,p._ ~-•~~f?EG!ST
Please type or laser-print this form. Be sure lt ls completely leglble. Read and follow all Instructions, especially Instruction 1; u·se•ot       ' ,       ~E
       for the Debtor Is crucial.                                                                                                                     - I'/£RC!A !
Fill In form very carefully; mistakes may have important legal consequences. If you have questions, consult your attorney. The1J1lmi o ~ cannot give               '·
       legal advice.                                                                                                                .,,,.., t'h j  6 AH ro
                                                                                                                                                   /
Send completed form and any attachments to the filing office, with the required fee.                                                                      11 : !.J  9
ITEM INSTRUCTIONS

A and 8. To assist filing offices that might wish to communicate with filer, filer may provide Information ln item A and item B. These Items are optional.
C. Complete Item C if filer desires an acknowledgment sent to them. If filing In a filing office that returns an acknowledgment copy furnished by filer,
    present simultaneously with this form the Acknowledgment Copy or a carbon or other copy of this form for use as an acknowledgment copy.

1.     Debtor's name. Carefully review applicable statutory guidance about providing the debtor's name. Enter only one Debtor name in Item 1 - either
       an organization's name (1a)m: an individual's name(1b). If any part of the Individual Debtor's name will not fit In line 1b, check the box·initemJ,
       leave all of item 1 blank, check the box In Item 9 of the Financing Statement Addendum (Form UCC1Ad) and enter the Individual Debtor name in· ~- .-,,..
       item 10 of the Financing Statement Addendum (Form UCC1Ad). Enter Debtor's correct name. Do not abbreviate words that are not already
       abbrevlated in the Debtor's name. If a portlon of the Debtor's name consists of only an Initial or an abbreviation rather than a full word, enter only
       the abbreviatlon or the initial. If the collateral is held in a trust and the Debtor name ls the name of the trust, enter trust name in the Organization's
       Name box ln Item 1a.

1a. Omanfzajinn nehtnr Name. "Organization Name" means the name of an entity that Is not a natural person. A sole proprietorship is not an
    organization, even If the individual proprietor does business under a trade name. lf Debtor Is a registered organization (e.g., corporation, llmlled
    partnership, llmited llabillty company), It Is advisable to examine Debtor's current filed public organic records to determine Debtor's correct name.
    Trade name is insufficient If a corporate ending (e.g., corporation, llmlted partnership, limited llabillty company) Is part of the Debtor's name, it must
    be Included. Do not use words that are not part of the Debtor's name.

1b. I ndivldual Debtor Name. "Individual Name• means the name of a natural person; this Includes the name of an Individual doing business as a sole
    proprietorship, whether or not operating under a trade name. The tenn includes the name of a decedent where collateral ls being administered by
    a personal representative of the decedent The term does not Include the name of an entity, even if it contains, as part of the entity's name, the
    name of an Individual. Prefixes (e.g., Mr., Mrs., Ms.) and titles (e.g., M.D.) are generally not part ofan indlvldual name. lndicatlons of lineage (e.g.,
    Jr., Sr., Ill) generally are not part of the lndMdual's name, but may be entered in the Suffix box. Enter indlvldual Debtor's surname (family name)
    In lndivlduars Surname box, first personal name in First Personal Name box, and all additional names In Addltlonal Name(s)/lnltlal(s) box.

       If a Debtor's name consists of only a single word, enter that word In Individual's Surname box and leave other boxes blank.

       For both organization and Individual Debtors. Do not use Debtor's trade name, OBA, AKA, FKA, division name, etc. In place of or combined with
       Debtor's correct name; filer may add such other names as additional Debtors If desired (but this is neither required nor recommended).

1c. Enter a mallfng address for the Debtor named In Item 1a or 1b.

2.     Additional Debtor's name. If an addltlonal Debtor is Included, complete item 2, determined and formatted per Instruction 1. For addltional Debtors,
       attach either Addendum (Form UCC1Ad) or Addltional Party (Form UCC1AP) and follow Instruction 1 for determining and formatting additional
       names.

 3.    Secured Party's name. Enter name and malllng address for Secured Party or Assignee who will be the Secured Party of record . For additional
       Secured Pa riles, attach either Addendum (Form UCC1 Ad) or Addltfonal Party (Form UCC1 AP). If there has been a full assignment of the lnltlal
       Secured Party's right to be Secured Party of record before filing this form, either (1) enter Assignor Secured Party's name and mailing address In
       Item 3 of this form and file an Amendment (Form UCC3) [see item 5 of that form]; or (2) enter Assignee's name and mailing address in Item 3 of
       this form and, if desired, also attach Addendum (Form UCC1Ad) giving Assignor Secured Party's name and mailing address In item 11.

 4.    Collateral. Use Item 4 to Indicate the collateral covered by this financing statement If space in item 4 is Insufficient, continue the collateral
       description In ltem 12 of the Addendum (Form UCC1Ad) or attach addltlonal page(s) and Incorporate by reference in item 12 (e.g., Sea Exhibit A).
       Do not Include social security numbers or other personally ldentlflable Information.

 Note: lf this financing statement covers timber to be cut, covers as-extracted collateral, and/or Is filed as a fixture filing, attach Addendum (Form
 UCC1Ad) and complete the required Information In items 13, 14, 15, and 16.

 5.     If collateral Is he!d in a trust or being administered by a decedent's personal representative, check the appropriate box In Item 5. If more than one
        Debtor has an Interest in the described collateral and the check box does not apply to the Interest of all Debtors, the filer should consider filing a
        separate Financing statement (Form UCC1) for each Debtor.

 6a. If thls financing statement relates to a Public-Finance Transaction, Manufactured-Home Transaction, or a Debtor Is a Transmitting Utility, check
     the appropriate box in item 6a. If a Debtor Is a Transmitting Utility fil!.d. the Initial financing statement ls filed In connection with a Public-Finance
     Transaction or Manufactured-Home Transaction, check m:!lY that a Debtor Is a Transmltling UHlity.

 6b. If this is an Agricultural Lien (as defined In appllcable state's enactment of the Uniform Commercial Code) or if this Is not a UCC security Interest
     filing (e.g., a tax lien, Judgment lien, etc.), check the appropriate box In Item 6b and attach any other items required under other law.

 7.     Alternative Designation. If filer desires (at filer's option) to use the designations lessee and lessor, consignee and consignor, seller and buyer
        (such as In the case of the sale of a payment lntanglble, promissory note, account or chattel paper), bailee and bailer, or licensee and llcensor
        Instead of Debtor and Secured Party, check the appropriate box In Item 7.

 a.     Optional Filer Reference Data. This item Is optional and Is for filer's use only. For filer's convenience of reference, filer may enter in item 8 any
        Identifying Information that Hier may find useful. Do not Include soclal security numbers or other personally Identifiable information.




                                                                                                                                               HTA_STAY0000318
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                                  Desc:
                       Monolines Ex. 54 Page 27 of 40


                            ESTADO LIBRE ASOCIADO DE

                            PUERTO RICO
                            DEPARTAMEN
     Registro de Transacciones Co                                      2014003809                                                                                                   14 AIJG-4 ~Mff: 56
DECLARACl6N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRUCCIONES/ FOLLOW INSTRUCTIONS

 A. NOMBRE Y NUMERO OE CONTACTO (opcional) / NAME & PHONE OF' CONTACT AT FILER (optional)


 B. CORREO aECTRONICO DE CONTACTO (opclonal) / E-MAIL CONTACT AT FILER (opUonao


C, ENVIAR CONFIRMACION A (Nombre y Dlraccl6n) ; I SEND ACKNOWLEDGMENT TO: (Nam• and Address)


   ~ent Fox LLP                                                                                                             7
   Attention: David Dubrow
    1675 Broadway
   ~ewYork, NY 10019                                                                                                        _J                             EL ESPACIO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO
                                                                                                                                                           THE ABOVE SPACE IS FOR FIUNG OFFICE USE OHL Y
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Provea s6Io un nombre de Deudor {18 o 1b) (use el nombre comp l~                                         ••acto. no omlla. modlfique o abrevl e nlngiln
   compone nte dal nombre); sl olg~n aparte del nombre del Oeudor no cebe en la llnea 1b, d6Jela an b\anco, marque aqulLJY provaa la lnlormacl6n del Deudor Individual
   en el rengl6n 10 del Ane]o a la Declaracl6n de Flnanclemlento (Forma UCC1AdPR) / Provide only one Dobler name (1s or 1b) (u;re • ~ full name: do not omit, modify, or
   abbreviate any pert of the Debtor's name); Jf any part cf tha /nd/vfduaJ D9btor's name w!I( not flt in line 1b, leave ell of llem 1 blank. chec!< here   and provide the Individual Debtor LJ
   info rmation In llem 10 of the Rnano/ng Statement Addendum (Form UCC1AdPR)

     1a. NOMBRE OE LA ENTIDAD I ORGANIZATION'S NAME

     Puerto Rico Highway and Transportation Authority
o-                                                                                                                                                                            SEGUNDO NOMBRE I ADD/TfONAL
     1b. APELUDO / INDIVIDUAL'S SURNAME                                                                        NOMBRE I FIRST PERSONAL NAME                                                                              SUFIJO
                                                                                                                                                                              NAME                                       /SUFFIX


1c. OIRE:CCION POSTAL I MAILING ADDRESS                                                                        CIUDAD / CITY                                                  ESTADO ICODIGO POSTAL/ POSTAL PAIS
                                                                                                                                                                              STATE      CODE                            COUNTRY
     Minillas Government Center, South Building, Floor 17 San Juan                                                                                                            PR         00940                           USA

2. NOMBRE DEL DEUDOR/ DEBTOR'S NAME: Provea solo un Oeudor ediclona t (2a o 2b) (Use el nombro comp l eto y exacto; no omlta , modlflquo o abrevle nlngune
   part& del nombre). Si cualqu ler part e do un nombro no cuplore en el el ospaclon provlsto en Jo 2b, dej a todo le secclon 2 en blanco, marque aqulOy proves ol nombr e
   compl olo en al r engl6n 10 en el Ane rjo de la Declara ci 6n da Flnanciamiento (For ma UCC1AdPR) / Provide only Q!!.e Debtor name (2a or 2b~•• exsct, full name; do not omit,
   modify, or abbrevislo any part of the Deb/or's nsmo); if eny pert of the Individual Debtor's name wlll not min Jin• 2b, loave all of llem 2 blenk, chock heroL._Jand provide the lndMduel Debtor
   information In ttem 10 of the Financing Statement Addendum (Form UCC1AdPR)

     2a. NOMBRE OE LA ENTIOAD / ORGANIZATION'S NAME


OR
     2b. APEL LIDO/ INDIVIDUAL'S SURNAME                                                                       NOMSRE I FIRST PERSONAL NAME                                   SEGUNDO NOMBRE / ADDfrJONAL                SUFIJO
                                                                                                                                                                              NAME                                       SUFFIX

2c. DIRECCION / MAILING ADDRESS                                                                                CIUDAD / CITY                                                  ESTADO ICODIGO POSTAL I POSTAL PAIS
                                                                                                                                                                              STATE   CODE                   COUNTRY

3. ~ ..             Ut:.L                     '-'"IV\l'I II.<.Auv (o NOMBRE DE CESIONARIO): Provea solo un n ombre de Acreedor Garanllzado (3a o 3b)
     SECURED PARTY'S NAME (or NAME of ASSIGNEE) · Provide only one Secured Party name (3B or 3b)
     3a. NOMSRE OE LA ENTI DAD I ORGANIZATION'S NAME

     Holders of all bonds ("1998 Resolution Bonds") issued under Resolution 98-06.
OR
     3b. APELLIDO I INDIVIDUAL'S SURNAME                                                                       NOMBRE I FIRST PERSONAL NAME                                   SEGUNDO NOMBRE I ADDITIONAL                SUFIJO
                                                                                                                                                                              NAME                                       SUFFIX

3c. DIRECCION POSAl I MAILING ADDRESS                                                                          CJUDAD / CITY                                                  ESTADO ICODJGO PCSTAl/ POSTAl PAIS
                                                                                                                                                                              STATE      CODE                            COUNTRY
     1675 Broadway, 34th Floor                                                                                  New York                                                      NY         10019                            USA
4. COLATERA!..: Esta dedaracr6n de financram1ento cub re la s1guIente colateral: /                                        COLLATERAL: Thrs financrng statemrmt covers the followrng collateral:
 All of the Debtor's rights, title, and Interest in and to {i) all moneys on accounl of taxes on crude oil and crude oil derivative products received by, or allocatec
 to, the Debtor pursuant to Act No. 34 of 1997, as amended; {ii) up to $20 million per fiscal year on account of cigaratte tax received by, or allocated to, the
 Debtor pursuant to Act No. 30 of 2013, as amended; 0ii) tolls or other charges imposed by the Debtor for the use of roads, avenues, streets, thoroughfares,
 speedways, bridges, tunnels, channels, stations, terminals, any other land or water transportation fa cllltJes, pari<ing lots and structures and other facilities for
 parking, loading or unlosding of vehicles and vessels other than those for which 1968 Resolution Bonds were or wm be issued; (vi) funds and accounts
 pledged as security for the 1998 Resolution Bonds and investment earnings therein ; and (v} the proceeds of any other taxes, fees or charges that the
 Legislature of Puerto Rico has allocated or may hereaftsr allocate to the Authority and authorize the Authority to pledge to the payment of principal and
 interest on bonds or other obligations of the Authority.
5. Marque solo sl apllca y solo una QPci6n; Co
(v~ase UCC1MPR, rengl6n 7 e lnsln.Jcdones)
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                                                                                                         Consignee/Consignor          Sellar/Buyer        Ba/lee/Baaor        LJr;ensooll.lc<>nsor
 ALTERNAnVf! DESIGNATION (II eppl/csbJe) ;

8. DATOS OPCIONALES DE Rl:FERENCIA PAfl.A EL
SOLICITANTE / OPTIONAL F'IL.l;R REFERENCE DATA :

rnDJA ncrrl..iA r\C DCr.!:IC!TDn                n.c.,.., Ar,1,,..,A• i nr" r-u,,_.., ,,.., •• ,..,....n-..-. ,r ___ i1.,....,..,.,.r,,-" rr- .. .. ,.,c-,n..,,1.i.i\




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 Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                               Desc:
                        Monolines Ex. 54 Page 28 of 40


                                                                            2014004847
                                                                                                                                              REGfSTRO OE
                                                                                                                              ,. ,. ',N5:\CC!ONES COMERC! r 1
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
    A. NAME & PHONE OF CONTACT AT FILER (optional}

    B. E-MAJl CONTACT AT FILER (optional}


 ,c. SEND ACKNOWLEDGMENT TO: (Name and Address)
     r                  CorpOration Service Company
                                                                                                   7
                        801 Adlai Stevenson Drive

                        Springfield, IL 62703
     L                   -
                                                                                                   _j                   TIIE ABOVE SPACE IS FOR RUNG OFFICE USE ONLY
1. DEBTOR'S NAME:Ptmridconly~ Oebl0rll8Clle (1a or 1b) [use e.act. full name; do net cmtt, m<,dify or abb<9\llabl ,my port of Um Ool>ton. name~ If any partoltlle lodlvidJal Oeb!or's
     AS1119 wi~ not Ill In lne 1t>, JeQ1l8 all af l!vRI 1 t>lanl<, cllaCI< here □ MS provlllB lhe lndivtdual Deblo· inlorma!lon I• item 10 ol Uig Flnanctng Slalemenl Addendum (Form UCCIA~)
         1n. ORGANIZATION'S NAME
               PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY
OR
         1b. INOMDUAL'S SU!'lNAMe                                                         F!R.::.1 PERSONAL NAME                               AOOITIONAL NME{S~JNmAl.(S)               SUFFlX


 le. MAILING ADDRESS
      Minillas Government Center, South Building
                                                                                          C:TY
                                                                                          San Juan
                                                                                                                                               STATE
                                                                                                                                                 PR
                                                                                                                                                         IPOSTAi.CODE
                                                                                                                                                          00921
                                                                                                                                                                                        COUNTRY
                                                                                                                                                                                        USA
2. DEBTOR'S NAME: Prowle only a Debtor neme (ZB er 2b) (use exz,cL full name; Ila M! am~. mccify, or ebbre.ia!e any part or lhe Debtor's name); If any pert ol lhe lndrfklual Oebloz'•
                                                                   O
   name will net Iii In line :11>, lea,,s aD al lelll 2 blank. dl&ck here aro provide l1'e tndhlicuat Oeblor in!ormallon In ilem to ol lhe Flnsrr.lng Sl.alemeot Ad<lendum (Ferm UCC1Ad)
         2a. ORGANIZATION'S NAME

OR
         2b INOMOUAL'S SURNAME                                                            FIRST PERSONAL NAME                                  AOD!'TlONAI. NAME{S)llNITlAl.(S)       . S\.IFFIX


2c MA!UNG ADDRESS                                                                         C,TY                                                 STAlE     IPOSTALCOOE                    COUN'iR"f



3    SECURED PARTY'S NAME (or NAME Of ASSIGNEE o1 ASSIGl'ICR SECURED PARTYt- Pr0>1de !ll'lly !l!i!: Seeuced Pany name ('.la or 3tif
         :'la . ORGANIZATION'S NAME
               HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESOLUTION •
OR
         3b INDMOUAL'S SURNAWE                                                            FIRST PERSONAL NMIE                                  ADDmOMAL N.\',lE{SYJNITlALIS)            SUFFlX


·ac MAJUNG ADDRESS
      One Wall Street
                                                                                          CITY
                                                                                          New York
                                                                                                                                               STATE
                                                                                                                                                 NY
                                                                                                                                                         IPOSTAL CODE
                                                                                                                                                           10286
                                                                                                                                                                                        COUNTRY
                                                                                                                                                                                        USA
4. COLLATERAL: This tllalldlllj lll'atemenl cave,s Ille roua-mng collaler.11:


           -     REFER TO EXHIBIT A ATTACHED HERETO, INCORPORATED HEREIN BY REFERENCE AND MADE A
     PART HEREOF.

                                           Exhibit A attached hereto consists of two pages. -


     •  HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE PUERTO RICO
     HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26, 1998, TOGETHER WITH ALL
     AMENDMENTS THERETO THEREAFTER AS THEREIN PERMITTED



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6a Che<'.J<                                                                                                             6b. Che:k2!lh£ if allf)licuble aM Cllecl< 2!!ll onet;.or.
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7. ALTERNATIVE OESIGNATlON f,! ;,r,r,lit;sllk) 0 L9SS8e/Lesso,          D C<,,,SJfl'l'!':,C,.,,lslrin,,, 0 Seller/Buyer                                     □~
8 OPTIONALFILERREFERENCEOATA:                                                                                                                                        286583 - 003
     Filed with: Services Commercial Transactions Registry of the Puerto Rico Department of State
                                                                                                                      ln!ematiooal Association of Commercial Administrators (IACA)
FIUNG OFFICE COPY-- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)




                                                                                                                                                                                  HTA_ST A Y0000320
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                             Desc:
                       Monolines Ex. 54 Page 29 of 40




                                              EXHIBIT A
                                                   TO                              ,,,11t ~ro - 9 Pt1 2= 59
                    UNIFORM COMMERCIAL CODE FINANCING STATEMENT , .·


    DEBTOR:

                  PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY
                  Minillas Government Center, South Building
                  San Juan, Puerto Rico 00921

    SECURED PARTY:

    HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE
    PUERTO RICO HIGHWAYS AND TRANSPORTATION AlITHORITY ON FEBRUARY 26,
    1998, TOGETHER WITH ALL AMENDMENTS THERETO THEREAFTER AS TIIEREIN
    PERMITfED
                          One Wall Street
                          New York, New York 10286

                                    COLLATERAL DESCRIPTION

             Pursuant to that certain Resolution No. 98-06 adopted on February 26, 1998 (as the same
    maybe amended or supplemented from time to time, the "1998 Resolution"), all of the Debtor's
    right, title and interest in and to (a) all "Revenues," which include, without limitation, (i) all
    moneys received by the Debtor on account of the crude oil tax allocated to the Debtor by Act No.
    34, approved July 16, 1997, as amended, (ii) all Existing Tax and Fee Revenues upon the repeal
    and cancellation of the 1968 Resolution, (iii) any tolls or other charges imposed by the Debtor
    for the use of any of the Toll Facilities other than Existing Toll Facilities Revenues received by
    the Debtor prior to the repeal and cancellation of the 1968 Resolution and (iv) the proceeds of
    any other taxes, fees or charges which the Legislature of Puerto Rico has allocated or may in the
    future allocate to the Debtor and has expressly authorized or in the future expressly authorizes
    the Debtor to pledge to the payment of the principal of and interest on bonds or other obligations
    of the Debtor and which are pledged by the Debtor to the payment of the principal of and interest
    on bonds or other obligations issued under the provisions of the 1998 Resolution, and investment
    earnings on deposits to the credit of funds established under the provisions of the 1998
    Resolution, (b) the Puerto Rico Highways and Transportation Authority Transportation Revenue
    Bonds Interest and Sinking Fund (and all accounts created therein by or pursuant to the 1998
    Resolution, including without limitation, the "Senior Bond Service Account," •'Senior Bond
    Redemption Account," and «Senior Bond Reserve Account") , the Puerto Rico Highways and
    Transportation Authority Subordinated Transportation Revenue Bonds Jnterest and Sinking Fund
    (and all accounts created therein by or pursuant to the 1998 Resolution, including without
    limitation, the "Subordinated Bond Service Account" and "Subordinated Bond Redemption
    Account"), the Puerto Rico Highways and Transportation Authority Subordinated Transportation
    Revenue Bonds Reserve Fund (and all accounts created therein by or pursuant to the 1998
    Resolution), the Puerto Rico Highways and Transportation Authority Transportation Revenue
    Fund (and all accounts created therein by or pursuant to the 1998 Resolution) and the Puerto



    710972992 14458010                         Page 1 of2




                                                                                                  HTA_ST AY0000321
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                     Desc:
                       Monolines Ex. 54 Page 30 of 40



                                                                                  REGl$_T~RQ o~r . , ~ (', I •
    Rico Highways and Transportation Authority Transportation ConstructioiiP.tlifd}l~~s'p&i"fil.filtla · ·
    created and designated by th<: 1998 Resolution and all other accounts an~.~ ~,.,.cr:?,teq,RY S9   'l
    pursuant to the 1998 Resolution; and (c) all proceeds and products of the foregomg/ 1 1

             When used herein. the following terms have the following meanings:

    "1968 Resolution" means Resolution No. 68- 18 adopted by the Debtor on June 13, 1968, as
    amended by supplementafresolutions of the Debtor adopted on February 17, 1972, October 29,
    1990, June 23, 1992, July 15, 1993 (effective September 8, 1993) and August 10, 1993, together
    with all amendments thereto thereafter as therein pemritted.

    "1968 Resolution Bonds" means aH bonds issued under the 1968 Resolution.

    ''Existing Tax and Fee Revenues" means ( l) the proceeds of the sixteen cents a gallon tax
    imposed on gasoline and one-half of the eight cents per gallon tax imposed on gas oil and diesel
    oil imposed by Subtitle B of Act No. 120, approved October 31, 1994, as amended, and allocated
    to the Debtor by Act No. 223 of November 30, 1995, as amended, and by said Act's predecessor
    statutes and (2) the proceeds of the $15 increase per vehicle of annual motor vehicle license fees
    imposed by the Commonwealth of Puerto Rico and allocated to the Debtor by Act No. 9,
    approved August 12, 1982.

    "Existing Toll Facilities Revenues" means the tolls or other charges imposed by the Debtor for
    the use of any Traffic Facilities financed in whole or in part by the issuance of 1968 Resolution
    Bonds, including any extensions, betterments or improvements to such Traffic Facilities added
    after the issuance of bonds under the provisions of Section 207 of the 1998 Resolution however
    financed or otherwise paid for.

    ''Toll Facilities" means any Traffic Facilities for which the Debtor imposes tolls.

    'Traffic Facilitiesn means any of the following facilities for which 1968 Resolution Bonds or
    bonds or other obligations shall be issued by the Debtor under the provisions of the 1998
    Resolution the cost of which facilities paid from the proceeds of such bonds or other obligations
    shall not have been reimbursed to the Debtor from funds not encumbered by the 1998 Resolution
    or the 1968 Resolution:

             (1) roads, avenues, streets, thoroughfares, speedways, bridges, tunnels, channels, stations,
                 terminals and any other land or water faci lities necessary or desirable in connection
                 with the movement of persons, freight, vehicles or vessels;
             (2) parking lots and structures and other facilities necessary or desirable in connection
                 with parking, loading or unloading of all kinds of vehicles or vessels; and
             (3) all property rights, easements, and interests therein necessary or desirable for the
                 construction, maintenance, control, operation or development of such traffic facilities.




    710972992 14458010                             Page 2 of2




                                                                                                           HTA_STAY0000322
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                        Desc:
                       Monolines Ex. 54 Page 31 of 40


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                                                                                                                                        '·-..,.,!'i::iACC!ONE S COMERC!Ar ;- :
                                                                                    2014002568                                             201q N.n' 16 AM IQ: l.18
UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

A. NAME & PHONE OF CONTACT AT FILER (optlonal)


B. E-MAIL CONTACT AT FILER (optional)


C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                                                              ·----·~•--·
  I Cadwalader, Wickersham & Taft LLP                                                           7
        Attention: Lary Stromfeld
        One World Financial Center
        New York, NY 10281
  L                                                                                             _J
                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only~ Debtor name (1a or 1b) (use exact, full name; do notomtt. modify, or abbreviate any part of the Debtors name); If any part of the Individual Debtors
   name will not flt In line 1b, leave all 0f ham 1 blanl<. check here D
                                                                       and provide the Individual Debtor lnfonnation In Item 10 of the Flnanclng Statement Addendum (Form UCC1Ad)
     1a. ORGANIZATION'S NAME
     Puerto Rico Highway and Transportation Authority
OR
     1b. lNDMDUAL'S SURNAME                                                             FIRST PERSONAL NAME                             ADDITIONAL W\ME(S)ilNITTAL(S)          SUFFIX


1c. MAJUNG ADDRESS                                                                      CITY                                            STATE    IPOSTALCODE                   COl.JNTRY
Minillas Government Center, South Building San Juan                                                                                     PR        00921                         USA
2. DEBTOR'S NAME: Provide only llJlli Debtor name (2a or 2b) (use exact, full name; do not omit, modify. or abbreviate any part of the Debtor's name); if any part of the Individual Debtors
   name wm no! flt In line 2b, leave all of Item 2 blank, check here   O and provide Iha Individual Debtor lnforma~on In Item 1Oof the Financing Statement Addendum (Fam, UCC1Ad )
     2a. ORGANIZATION'S NAME


OR
     2b. INDMDUAl'S SURNAME                                                             FIRST PERSONAL NAME                             ADDITIONAL NAME(S)nNITIAL(S)           SUFFIX


2c. MAILING ADDRESS                                                                     CITY                                            STATE    IPOSTALCODE                   COUNTRY



3 SECURED PAR1Y'S NAME (or NAME 0f ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only J2Jl§ Secured Party name (3a or 3b)
     3a. ORGANIZATION'S NAME

     Assured for the benefit of Holders of all Bonds under the 1968 Resolution (as defmed below)
OR
     3b. INDMDUAl'S SURNAME                                                             FIRST PERSONAL NAME                             ADDITIONAL NAME(S)IINrTIAL(S)          SUFFIX


3c. MAILINGADDRESS                                                                      CITY                                            STATE    I POSTALCODE                   COUNTRY
 31 W. 52nd St., #26                                                                     New York                                        NY        10019                        USA
4. COLLATERAL: This financing statement covara the following colleleraJ:
 Pursuant to that certain Resolution 69wl8 adopted on June 13, 1968 (the "1968 Resolution"), all of the Debtor's right, title,
 and interest in and to "Revenues," which include, without limitation, (i) all moneys received by the Debtor on account of
 gasoline tax allocated to the Debtor by Act No. 75 of 1965; (ii) tolls or charges imposed by the Debtor for the use of any of the
 Debtor's traffic facilities, including, without limitation, (a) all highway, road, thoroughfare, speedway, bridge, and tunnel toll
 facilities, and (b) all parking lots and similar facilities; (iii) proceeds of any other taxes, fees, or charges which the Legislature
 has allocated to the Debtor and for which the Debtor is expressly authorized to pledge to the repayment of the Bonds; and
 (iv) funds and accounts pledged as security for Bonds and investment earnings therein. "Assured" means Assured
 Guaranty Corp. and Assured Municipal Corp. (formerly known as Financial Security Assurance Inc.). Capitalized terms
 used herein and not otherwise defined herein will have the meanings given to such terms in the 1968 Resolution.




5. Check~ If a~plleable and check SlLlfx one box: Collateral Is    O held In a Trust (see UCC1Ad, Item 17 and Instructions) D being administered by a Decedent's Person al Represenlative
6a. Check .Qlll)'. if applicable and check m one box:                                                                             6b. Check g    ~ applicable and check   m one bax:
     [Z] Pubilc-Flnance Transaction  D Manufaciured-Home Transacllon D A Debtor Is a Transmlttlng Utifoty   D Agricu~ural Uan D Non-UCC Fifing
7. ALTERNATIVE DESIGNATION (if applicable): D Lessee/Lessor         O Consignee/Consignor    D s enar/Buye,  D Bailee/Ballar   D Llcensee/Ucensor
8. OPTIONAL ALER REFERENCE DATA:


                                                                                                                  International Association of Commercial Administrators HACA)
FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)




                                                                                                                                                                           HTA_ST AY0000323
 Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                           Desc:
                        Monolines Ex. 54 Page 32 of 40

                                        Instructions for UCC Financing Statement (Form UCC1)
                                                                                                                           r:;' \ ,.,,, ,   REGIS-"R
Please type or laser-print this form. Be sure it is completely legible. Read and follow all Instructions, espec!ally lnstructiofi' '1f~ .ftllnJB · ame
       for the Debtor is crucial.                                                                                                              -  1c:.R C!,iu_

Fill in form very carefully; mistakes may have important legal consequences. If you have questions, consult your attomam1P,1:1;fi'irnl of!jce canno.t give
       legal advice.                                                                                                        ·· ~ ' • 114 f  r o AMIQ:
Send completed form and any attachments to the filing office, with the required fee.                                                                  • Lf    8
ITEM INSTRUCTIONS

A and B. To assist filing offices that might wish to communicate with filer, filer may provide Information in Item A and item 8. These items are optional.
C. Complete item C if filer desires an acknowledgment sent to them. If filing in a filing office that returns an acknowledgment copy furnished by filer,
    present simultaneously with this fonn the Acknowledgment Copy or a carbon or other copy of this form for use as an acknowledgment copy.

1.   Debtor's name. carefully review applicable statutory guidance about providing the debtor's name. Enter only one Debtor name in item 1 - either
     an organization's name (1a) Qr an Individual's name (1b). If any part of the Individual Debtor's name will not fit in line 1b, check the·box ln.lt!lrQ).,
     leave all of Item 1 blank, check the box In Item 9 of the Financing Statement Addendum (Fann UCC1Ad) and enter the Individual Debtor name               m'· ,
     item 10 of the Financing Statement Addendum (Form UCC1Ad). Enter Debtor's correct name. Do not abbreviate words that are not already
     abbreviated in the Debtor's name. If a portion of the Debtor's name consists of only an initial or an abbreviation rather than a full word, enter only
     the abbreviation or the initial. If the collateral is held in a trust and the Debtor name Is the name of the trust, enter trust name In the Organization's
     Name box in item 1a.

1a. Qrganjzatjon Debtor Name. "Organization Name• means the name of an entity that is not a natural person. A sole proprietorship is not an
    organization, even If the individual proprietor does business under a trade name. If Debtor is a registered organization (e.g., corporation, limited
    partnership, limited liability company), it is advisable to examine Debtor's current filed public organic records to detellTline Debtor's correct name.
    Trade name Is Insufficient. If a corporate ending (e.g., corporation, limited partnership, limited liability company) is part of the Debtor's name, it must
    be included. Do not use words that are not part of the Debtor's name.

1b. Individual Debtor Name. "Individual Name" means the name of a natural person; this includes the name of an individual doing business as a sole
    proprietorship, whether or not operating under a trade name. The term includes the name of a decedent where collateral is being administered by
    a personal representative of the decedent. The term does not include the name of an entity, even if it contains, as part of the entity's name, the
    name of an individual. Prefixes (e.g., Mr., Mrs., Ms.) and titles (e.g., M.D.) are generally not part ofan individual name. Indications of lineage (e.g.,
    Jr., Sr., 111) generally are not part of the individual's name, but may be entered in the Suffix box. Enter individual Debtor's surname (family name)
    in Individual's Surname box, first personal name in First Personal Name box, and all addltlonal names in Additional Name(s)/lnitial(s) box.

     If a Debtor's name consists of only a single word, enter that word in Individual's Surname box and leave other boxes blank.

     For both nmanlzation and indiyidual Debtors. Do not use Debtor's trade name, DBA, AKA, FKA, division name, etc. in place of or combined with
     Debtor's correct name; filer may add such other names as additional Debtors if desired (but this is neither required nor recommended).

1c. Enter a mailing address for the Debtor named in item 1a or 1b.

2.   Additional Debtor's name. If an additional Debtor Is included, complete item 2, determined and formatted per Instruction 1. For additional Debtors,
     attach either Addendum (Form UCC1Ad) or Additional Party (Form UCC1AP} and follow Instruction 1 for determining and formatting additional
     names.

3.   Secured Party's name. Enter name and mailing address for Secured Party or Assignee who will be the Secured Party of record. For additional
     Secured Parties, attach either Addendum (Form UCC1 Ad) or Additional Party (Form UCC 1AP). If there has been a full assignment of the Initial
     Secured Party's right to be Secured Party of record before filing this form, either (1) enter Assignor Secured Party's name and mailing address in
     item 3 of this form and file an Amendment (Form UCC3) {see item 5 of that form]; or (2) enter Assignee's name and mailing address In item 3 of
     this form and, if desired, also attach Addendum (Form UCC1Ad) giving Assignor Secured Party's name and mailing address in item 11 .

4.   Collateral. Use item 4 to indicate the collateral covered by this financing statement. If space In item 4 is Insufficient, continue the collateral
     descriptlon In item 12 of the Addendum (Form UCC1Ad) or attach additional page(s) and incorporate by reference in item 12 (e.g., See Exhibit A).
     Do not include social security numbers or other personally identifiable information.

Note: If this financing statement covers timber to be cut, covers as-extracted collateral, and/or Is filed as a fixture filing, attach Addendum (Fann
UCC1Ad) and complete the required information in items 13, 14, 15, and 16.

5.   If collateral is held in a trust or being administered by a decedent's personal representative, check the appropriate box in item 5. If more than one _
     Debtor has an interest in the described collateral and the check box does not apply to the interest of all Debtors, the filer should consider filing a
     separate Financing Statement (FollT! UCC1 ) for each Debtor.

6a. If this financing statement relates to a Public-Finance Transaction, Manufactured-Home Transaction, or a Debtor is a Transmitting UUlity, check
    the appropriate box in item 6a. If a Debtor is a Transmitting Utility am! the initial financing statement Is filed in connection with a Public-Finance
    Transaction or Manufactured-Home Transaction, check          mthat a Debtor is a Transmitting Utility.

6b. If this is an Agricultural Lien (as defined in applicable state's enactment of the Uniform Commercial Code) or if this is not a UCC security interest
    filing (e.g., a tax lien, Judgment lien, etc.), check the appropriate box In Item 6b and attach any other Items required under other law.

7.   Alternative Designation. If filer desires (at filer's option) to use the deslgnaUons lessee and lessor, consignee and consignor, seller and buyer
     (such as in the case of the sale of a payment intangible, promissory note, account or chattel paper), bailee and ballor, or licensee and licensor
     instead of Debtor and Secured Party, check the appropriate box In item 7.

8.   Optional Filer Reference Data. This item Is optional and Is for filer's use only. For filer's convenience of reference, filer may enter in Item 8 any
     identifying information that filer may find useful. Do not include social security numbers or other personally idenUfiable information.




                                                                                                                                               HTA_STAY0000324
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                        Desc:
                       Monolines Ex. 54 Page 33 of 40


                         ESTADO LIBRE ASOCIADO DE

                         PUERTO RICO
                         DEPARTA MENTO DEE
     Registro de Transacciones Comerciali                                2014003tJ10
0ECLARACl6N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRUCCJONES/ FOLLOW INSTRUCTIONS
A. NOMBRE Y NUMERO DE CONTACTO (opdonal] I NAME & PHONE OF CONTACT AT FILER (optfom,Q


B. CORREO ELECTRONICO DE CONTACTO (opdonal) / E•MATL CONTACT AT FILER (opVonsQ



C. ENVIAR CONFIRMACIQN A (Nomb<e y Dlrer;ciQn): I SEND ACKNOWLEDGMENT TO: (Nems and Aeldrsss)


     fArent Fox LLP                                                                                  7
      Attention: David Dubrow
      1675 Broadway
     l.!:i_ew York, NY 10019                                                                         _J                  EL ESPACIO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO
                                                                                                                         THE ABOVE SPACE IS FOR F/LJNG OFFICE USE ONLY
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Prov es s6Io un nombre de Deudor (1e o 10) (use er nomore comp!~                                                 execto, no omits. modlfique o abrevie nl ng(m
     componente de! nombre); sl algun aparte de! nombre de! Deudor no csbe en I• llnea 1 b, dejela en olanco, marque aqulLJY prov es la lnformacl6n del Deudor Individual
     en el r engl6n 10 del Anejo e la Declaraci6n de Flnanclamlento (Forma UCC1AdPRJ / Provfrfo only 2!li Deotor nsme (la or 1b) (uso • ~ fulr name; do not omn, modify, or
     Dborsviato any part of the Debror's nDme); if ony port of the Individual Debtor'• namo wil/ not fit in l{ne 1b, leave all of ltBm 1 b!snk. check hsro         LJ
                                                                                                                                                           and provfds lbs tnd!vidual Debtor
     information in #em 10 of th• Finsnc/ng StsfemBnt Addendum (Form UCC1AdPR)

      1a. NOMBRE DE LA ENTIDAD / ORGANIZATION'S NAME

      Puerto Rico Highway and Transportation Authority
OR
      10. APELLIDO I INDIVIDUAL'S SURNAME                                                  NOMBRE I FIRST PERSONAL NAME                           SEGUNDO NOMBRE / ADDITTONAL             SUFIJO
                                                                                                                                                  NAME                                    !SUFFIX


1c. DIRECCION POSTAL I MAILING ADDRESS                                                     CIUDAD / CITY
                                                                                                                                                  STATE
                                                                                                                                                            I
                                                                                                                                                  ESTA!lO COO!GO POSTAL/ POSTAL PAIS
                                                                                                                                                          CODE                  COUNTRY
      VERIFY [Minillas Government Center, South Building] San Juan                                                                                PR      00940                  USA
2. NOMBRE DEL DEUDOR/ DEBTORS NAME: Provea s6Io un Deudor adlclona l (2a o 2b] (Uoe el nombre completo y exaclo; no omits, rnod1flque o abrevle nlngune
   part& del nombre ). SI cualquJer parte de 1.1n nombra no cuplera en el el esp.scion provlsto on la 2b, deJe tads la seccl6n 2 en blanco, matq ue aqu lDy provee el nombre
     complete en al reng t6n 10 en el Anerjo de la Declaraci6n de Financiaml ento (Form• UCC1AdPR) / Provide only Q!!!/. 0..btor name (2a or 2b) (usa axsct, full nama; do not om«,
     modify, or ebbrovfats any psrt of the Deblllr's nams); If any pert of the Individual Debtor's n•m• will not fit in line 2b, /<Jave al{ of ilom 2 b(enk, check here0 •nd provide the lndlvldua! Debtor
     informotion In ~•m 10 of the Financing Statement Addendum (Form UCC1ArlPR)

      2a. NOMBRE DE LA ENTIDAD / ORGANIZA T/ON'S NAME


OR 2b. APELLIDO ! INOIV(DUAL'S SURNAME                                                                                                            SEGUNDO NOMBRE / ADDfTfONAL              SUFIJO
                                                                                           NOMBRE I FIRST PERSONAL NAME
                                                                                                                                                  NAME                                     SUFFIX

2c. DIRECCION / MAILING ADDRESS                                                            CIUDAD I CITY                                          ESTADO I CCDIGO POSTAL/ POSTAL PAIS
                                                                                                                                                  STATE    CODE                  COUNTRY

3.          UCL.           "''"''"'", ''-"'"'v (o NOMBRE DE CES IONARIO): Provea solo un nombre de Aoreedor Garantlzado (3a o 3b)
      SECURED PARTY'S NAME /or NAME of ASSIGIJEE): Provide only one Secured Party name (3a o r 3b)
      3a. NOMBRE DE I.A ENTIDAD / ORGANIZATION'S NAME

      Ambac Assurance Corporation ("Ambac") for benefit of holders of all bonds ("1998 Resolution Bonds") issued under Resolution 98-06.
OR
      3b. A.PELUDO I INDIVIDUAL'S SURNAME                                                   NOMBRE / FIRST PERSONAL NAME                          SEGUNDO NOMBRE / ADDmONAL                SUFlJO
                                                                                                                                                  NAME                                     SUFFIX

3c. DIRECCIQN POSAL / MAILING ADDRESS                                                       CIUDAO I CfTY                                         ESTADO I CODIGO POSTAL/ POSTAL PAIS
                                                                                                                                                  STATE    CODE                  COUNTRY
      One State Street Plaza                                                                New York                                              NY            10004                       USA
4. COLATERAL: Esta deciaracr6n de fina nc,amiento cubre la s,gu!ente colateral: / COLLATERAL: This financing statement covers the following co/lateral:
 All of the Debtor's rights, title, and interest in and to (i) all moneys on account of taxes on crude oil and crude oil derivative products received by, or allocatec
 to , the Debtor pursuant to Act No. 34 of 1997, as amended; (ii) up to $20 million per fiscal year on account of cigarette tax received by, or allocated to, the
 Debtor pursuant to Act No. 30 of 2013, as amended; (Ill) tolls or other charges imposed by the Debtor for the use of roads, avenues, streets, thoroughfares,
 speedways, bridges, tunnels, channels, stations, term inals, any other land or water transportation facilftles, parking lots and structures and other facilities for
 parking, loading or unloading of vehicles and vessels other than those for which 1968 Resolution Bonds were or will be issued; (vi) funds and accounts
 pledged as security for the 1998 Resolution Bonds and investment earnings therein; and (v) the proceeds of any other taxes, fees or charges that the
 Legislature of Puerto Rico has allocated or may hereafter allocate to the Authority and authorize the Authority to pledge to the payment of principal and
 interest on bonds or other obligations of the Authority.
5. Marque solo sl aplica y solo una opd6n: Col       eet.l   l]en posesl6n de un Fldelcomlso               Chock MJx if appl~b/8 8       ock mane box: Col/atom/ Is □ held In a Trust(~• UCC1AdPR,
(veasa UCC1AdPR, reng!on 7 o lnstruccioneo)         admlnlsirado por RepresenlaJ'lte de un dlfun!o         Item 17 and mrruc/Jons       bel   sdm/nlsterod b s Decadents Pe~ona/ Ra msentatiVo
6a. Marque solo sl apllca y una sole altemotiva / Check gJJ/:, if oppllcabls and chock Ql1J:t                                                 6b. Marque ~o sl apllca y solo una alternetlva I C/leck !1!11:i
one bo;r;                                                                                                                                         If appllcsblo and check !2!J!:i one oox:
 I.TTransaccI6n de Flnenciamlenfo
 J.:.l pQbll co / Pvbllc-Flntmct1
                                         O rransacd6n de Casa Prerabncada I
                                           Manufactured-Home Tl'llnsact/on
                                                                            O Un  Doudor •• una enlidsd
                                                                              lr2nsmlso re / A D•btor Is a
       Transaction                                                                          Tn,n$1T!ltt/ng U/Ulty

 7. DESIGNACIQN ALTERNA (sl apllca]
ALTERNAnVE DESIGNATION (U Bpp/lcable) :

8. DATOS OPCIONALES DE REFERENCIA PARA a
SOUCITANTE / OPTIONAL FILER REFERENCE DATA;


COPIA OFICINA DE REGISTR0-DECLARACI6N DE FINANCIAMIENTO (Forme UCC1PR) (Rev. 05/09/14)




                                                                                                                                                                                           HTA_ST AY0000325
   Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                    Desc:
                          Monolines Ex. 54 Page 34 of 40


                                                                            2014004846

UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
 A. NA.ME & PHONE OF CONTACT AT Fil.ER (opllonal)

 8. E-MAll CONTACT AT l'lt.ER (oplkmal)


 C. SEND ACKNOWLEDGMENT TO: (Name and Address)

   I                           Corporation Service Company                                               7
                                801 Adlai Stevenson Drtve
                                Sprfngfleld, IL 62703
   L                                                                                                     _j                   THE ABOVE SPACE IS FOR FILING OFFICE USE OM.Y
1. DEBTOR'S NAME: Ptov.de or:!y;mg_Dcbtet11111"8 {to or 1b) (uae-. ful r,ame: da na omJt. modify, or -..iate81ly part of Iha Deblo,'s , e1119); lfaaypar. ollh2 .lndMdiml Oeb!DI'•
     came mH not Iii In line 1b. leaw ell o! llesl 1 blank. dlecl< hsra   O   end provide Ille Individual Oeblot illl'omlallon In l!em 1D Of Ille ;:lllandng S1a191D811t Aelllendmn (Farm UCC!AdJ
       14. ORGAHIZATION'S NAME
           PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
OR
       1b 1NDMOUA1.'S SURNAME.                                                                  FIRST PER$0111AL IWJE                               AOOITIONA1. NAME(SjllMTIAl..{S)          SUfF1X


 le Mi\lUNG ADDRESS
      Mln!Has Government Center, South Bulldlng
                                                                                                CfTY
                                                                                              • SanJuan                                             S•;~ ,~~21COO£                           COUN'TRY
                                                                                                                                                                                             USA
2. DEBTOR'S NAME: f'n:rvllk! 0IIIY mill Delll0r name (2a or Zbl (llSe exact. l\lll nami=; <to 1101 anlt. moi:llfy, "' abllnmB!e any p1111 of u,,, lh:bwr's name!; If aoy part ot 1118 ladl'ndual Oeblor'•
   MDTl& ollllllll fil!nlim2b. TeavaalloUem 2blanlc.chedthars             O and prowlelhel'llliviciml Oeblorlnfor.natlon I~ i:Snt 10 tile Financing Slalem8al. Addanduro (Fcl"m UCC1Ad)
                                                                                                                                       af

       23. ORGANIZATJOl'/'S NAME

OR
       :2b INDMDlJAl.'S SURNAME                                                                 FlRST PERSOUAI. IWll5                               ADDITIONAL N/IMEtSll!Nl1lAL(S)           SZJl'l'lX


:le. 11.11>.ILING AOORESS                                                                       CITY                                                S7A7E     IPOSTALCOCE                    COIJWi'R'I"


3. SECURED PARTY'S NAME (or AAME of ASSIGNEE of ASSIGNOR SECURED PA~TY! PIOWle !JOiy C>ll8 Sacurea F;ur1 naa,e {la or 3b)
    3a. OOGANIZATION'S HAME
           HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESOLUTION •
OR
       31> ,NOMDl/AL'S SURNA!v!E                                                                FIRST PERSOHAL MM!:                                 AoomoNAL IWAE[SJIINfl1ALISi              SUffL'<

                                          -~---
 3c. ~!.All.ING ADDRESS
     One Wall Street
                               ----....
                                                             ..
                                                                                                CITY
                                                                                                New York                                            s~~T~     I102aiooe                      COllt'-rn'lY
                                                                                                                                                                                             USA
4. COLI.A~: This GnQIIClng &1a1esnen1 CCN8!S 1h11 follol:ltng C!lllaleral:


                -REFER TO EXHIBIT A ATTACHED HERETO, INCORPORATED HEREIN BY REFERENCE AND MADE A
     PART HEREOF. -


                                          - Exhibit A attached hereto consists of one page. -

   .. HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION NO. 98-06, ADOPTED BY THE PUERTO RICO
   HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26, 1998, TOGEll-tERWITH ALL
   AMENDMENTS 11-iERETO THEREAFTER AS THEREIN PERMITTED



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8. OPTIONAL FILER RE.FERENCE DATA:
  Filed with: Servlce6 Commercial Transactions Registry of the Puerto Rico Department of State           286 583 - 001
                                                                       lntemalional Association of Commercial Adminlstra!ors (IACA)
FlUNG OFACE COPY -                        UCC ANANCING STATEMENT {Form UCC1) (Rev 04/20/11)




                                                                                                                                                                                        HTA_STAY0000326
Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                         Desc:
                       Monolines Ex. 54 Page 35 of 40




                                      EXHIBIT A
                                         TO              n --- g =--9_ __pi• -:i. 00
                     UNIFORM COMMERCIAL CODE FINANCING STA'FEl\llENT n J·


   DEBTOR:

                   PUERTO RlCO HIGHWAYS AND TRANSPORTATION AUTHORITY
                   Minillas Government Center, South Building
                   San Juan, Puerto Rico 00921

   SECURED PARTY:

    HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION NO. 9g:.06, ADOPTED BY
   THE PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY ON
   FEBRUARY 26, 1998, TOGETHER WITH ALL AMENDMENTS THERETO THEREAFTER
   AS THEREIN PERMITTED
                    One Wall Street
                    New York, New York 10286

                                   COLLATERAL DESCRIPTION

          The Puerto Rico Highways and Transportation Authority (the "Authority") has executed
   and delivered a certain Secmity Agreement dated as of February 7, 2002 and has granted to the
   holders of all bonds issued under the Authority's Resolution No. 98-06, adopted on February 26,
   1998, as amended (the "Resolution"), a security interest in (i) all Revenues (as defined in the
   Resolution) of the Authority, (ii) the Puerto Rico Highways and Transportation Authority
   Transportation Revenue Bonds Interest and Sinking Fund, as such term is defined in the
   Resolution (and all accounts therein maintained under the Resolution), (iii) the Puerto Rico
   Highways and Transportation Authority Transportation Revenue Fund, as such term is defined in
   the Resolution (and all accounts therein maintained under the Resolution), and (lv) all amounts
   on deposit and required to be on deposit therein by the terms of the ·Resolution including all
   proceeds and all after-acquired property, subject to applkation as permitted by the Resolution.




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 Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                Desc:
                        Monolines Ex. 54 Page 36 of 40

                         ESTADO LIBRE ASOCIADO DE
                         PUERTO R r r
                         DEPARTAMENTO DE EST                                        2014003807                                                                               14 AUG -4 AM U: 53
     Registro de Transacciones Comerciales


DECLARACl6N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRUCCIONES/ FOLLOW INSTRUCTIONS

 A. NOMBRE Y NllMERO DE CONTACTO (opdonel) I NAME & PHONE OF CONTACT AT FILER (optionaQ


B. COAAEO ELECTR0NtCO DE CONTACTO (cpclcnai) I E-L!AIL CONTACT AT FILER (optione!)


 C. ENVIAR CONFIRMACION A (Nombre y Dlrecct6n): I SEND ACKNOWLEDGMENT TO: (Name end Address)


   [°A;ent Fox LLP                                                                                             7
     Attention: David Dubrow

     1675 Broadway
   ~ew York, NY 10019                                                                                          _]                     EL ESPACIO ARRIEIA ES PARA USO DEL OFIC!AL DE REG!STRO
                                                                                                                                      THE ABOVE SPACE rs FOR FILING OFFICE USE ONL y
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Provea s61o un nombre de Oeudor [1e o 1b) (use el nombre comp!~                                         exectc, no omits, modlfique o ebrevle nlngun
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   en el renglon 10 del Anajo a le Decleracl6n de Flnancl emlanto (Fo rma UCC1AdPR) / Provide only~ Debtor name {1a or 1b) (use •-"/!£Ii full name; do not omM. modify, or
   abbroviale any p"11 of lho Debtor's name); 11 lJJ!y psrt of the lndMdusl Dab/or's nsmo will not fir In Jina 1b, leEWO ail of Uem 1 blank. chock here                    LJ
                                                                                                                                                           end provide lhe Jndivfaua/ Debtor
   iMormellon in itom , 0 of lhe Financing Statement Addendum {Form UCC1AdPR)

     1a. NOMBRE DE LA ENT!DAO I ORGANIZAT/ON"S NAME
     Puerto Rico Highway and Transportation Authority ("Debtor'')
o~ 1b. A?ELLIDO I INDIVIDUAL'S SURNAME                                                                NOMBRE / FIRST PERSONAL NAME                        SEGUNDO NOMBRE / ADDrrJONAL                 SUFIJO
                                                                                                                                                          NAME                                        /SUFFIX

1c. DIRECCION POSTAL/ MAILING ADDRESS                                                                 CIUDAD I CITY                                       ESTADO ICODlGO POSTAL/ POSTAL PAIS
                                                                                                                                                          STATE CODE                    COUNTRY
     Minillas Government Center, South Building, Floor 17                                             San Juan                                            PR      00940                  USA
2. NOMBRE DEL DEUDOR/ DEBTOR'S NAME: Provea s61o un Deudor adlclonal (2a o 2b) (Use el nombro complete y exacto; no omits, modlflque o abrevle nlngune
   parte del nombre) . SI cualquler parte de un nombre no cup[ere en el el espaclon provlsto en Ia 2b, deJe tod'e la secc16n 2 en brsnco, merquo aqu rOy provea el nombre
   comp leto en el reng lon 10 en el AnerJo de la Declaraclon de Fl naneiamlento {Forms UCC1AdPR) I Provide only QM Dab/or name (2B or 2b2.l!!s• ersct. full name; do not omM,
   modify, or sbbravlate sny part of lh• Debrors name); ii any part of tne lncJ/vldual Debtor·s name will not fit In line 2b, ioave all of Item 2 blank. check hor•LJ•nd provide lho lndMdua/ DebtOI
   Jnfomiatlon In nem 10 of tho Flnsnc/ng Statement Addendum (Form UCC1AdPR)

     2a. NOMBRE DE LA ENTIDAD / ORGANIZATION'S NAME

OR
     2b. APELLIDO I INDIVIDUAL"S SURNAME                                                              NOMBRE / FIRST PERSONAL NAME                         SEGUNDO NOMBRE / ADDrrlONAL                SUFIJO
                                                                                                                                                           NAME                                       SUFFIX

2c. DIRECCION / MAILING ADDRESS                                                                       CIUDAD / CITY                                        ESTAOO ICODIGO POSTAL/ POSTAL PAIS
                                                                                                                                                           STATE CODE                    COUNTRY


3. ~"     Ut= L          '-'"'""'" I ILAUU (o NOMBRE DE CESIONARIO}: Proves solo un nombre de Acreedar Garantlzado (38 O 3b)
    SECURED PARTY'S NAME /or NM1E of ASSIGNEE)· Provide only one Secured Party name (3a or 3b)
     3e.. NOMBRE DE LA ENTIDAD / ORGANIZA TiON"S NAME
     Ambac Assurance Corporation ( " Ambac") for benefit of holders of all bonds ("1968 Resolution Bonds") issued under Resolution 68-18.
OR
     3b, Ai>ELL!DO I JNDJV/DUAL'S SURNAME                                                             NOMBRE I FIRST PERSONAL NAME                         SEGUNDO NOMBRE I ADDITIONAi-               SUFIJO
                                                                                                                                                           NAME                                       SUFFIX

3c. DIRECCION POSAL I MA/UNG ADDRESS                                                                  CIUDAD / CITY                                        ESTADO ICOOIGO POSTAL/ POSTAL PAis
                                                                                                                                                           STATE CODE                    COUNTRY
     One State Street Plaza                                                                           New York                                             NY      10004                  USA
4 . COLATERAL: Esta declarac,6n de financ,am,ento cubre la siguiente co!ateral: / COUA TERAL: Th is financing statement covers the following collaleral:
 All of the Debtor's rights, title, a nd interest in and to (i) all moneys on account of gasollne tax received by, Of allocate<! to, the Debtor pursuant to Act No. 75 of 1965. as
 amended; (ii} all moneys on account of tax on gas oil and diesel oil received by, or allocated to, the Debtor pursuant to Act No. 120 of 1994. as amended; (!Ji) all moneys on
 account ofmator vehlcle license fees received by, or allocated to, the Debtor pursuant to Act No. 141 of 1960, as amended; (Iv) up to $20 m illion per fiscal year on account
 al cigarette tax received by, or allocated to, the Debtor pursuant to Act No. 30 of 2013, as amended ; (v) tolls or other charges imposed by the Debtor for the use of roads,
 avenues, streets, thoroughfares. speedways, bridges, tunnels, channels, stations, terminals, any other land or water transportation facilltles, parking rots and structures and
 other facilities for parking, loading or unloading of vehicles and vessels for which 1968 Resolution Bonds were or wil be issued; (vi} funds and accounts pledged as security
 for the 1968 Resolution Bonds and Investment earnings therein; and (vi1) the proceeds of any other taxes, fees or charges that the Legislature of Puerto Rico has allocated o
 may hereafter allocate lo the Authority and authorize the Authority to pledge to the payment of principal and Interest on bonds or other obligations of the Authority.


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8. DATOS OPCIONALES DE REFERENCIA PARA EL
SOLICITANTE / OPTIONAL FILER REFERENCE DATA:


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Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                          Desc:
                       Monolines Ex. 54 Page 37 of 40

                         ESTADO LIBRE ASOCIADO DE

                         PUERTO RICO
                         DEPARTAMENTO DE i:r~• - -
     Registro de Transacciones Comercial                               2014003808                                                                    14 AUG -4
DECLARACIC>N DE FINANCIAMIENTO / FINANCING STATEMENT
SIGA INSTRVCCIONES/ FOLLOW INSTRUCTIONS

A. NOMBRE Y NOMERO DE CONTACTO {opclonal) I NAME & PHONE OF CONTACT AT FILER (optlonaQ


B. CORREO ELECTRONICO OE CONTACTO (opclonal) I E-MAIL CONTACT AT FILER (optloneQ


C. ENVIAR CONFIRMACIQN A (Ncmbre y Dlreecl6n): I SEND ACKNOWLEDGMENT TO: (Nsma and Addrass)


     f'Arent Fox LLP                                                                                   7
     Attention: David Dubrow
      1675 Broadway
     ~ew York, NY 10019                                                                                _J                             EL ESPAClO ARRIBA ES PARA USO DEL OFICIAL DE REGISTRO
                                                                                                                                      THE: ABOVE SPACE IS FOR RLING OFFICE: USE OHL Y
1. NOMBRE DEL DEUDOR / DEBTOR'S NAME: Pr ovea s6Io un nombre de Deudor (1e o 1b] {use el nombre eompl~ exaclo, no omtta, mod!flque o abrevl e nlngun
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   en el reng l6n 10 del Anejo a la Decleracl6n de Flnancl amlanto (Forms UCC1AdPR) / Prov/do only 2/l!l Debtor name (1a or 1b} (use ax~ fuU name; do nol omn, modify, or
   abbrevi81a any per1 of the Debtor's Mme); If any per1 of Ula fndivi'dual Deblor's name will not fit in Jina 1b, /save all of Mam 1 blank, check hers                LJ
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   (nforms~on in item 10 of Iha Financing Slatement Addendum (Form UCC1AdPR)

      1a. NOMBRE OE LA ENTIDAC / ORGANIZATION'S-NAME

      Puerto Rico Highway and Transportation Authority
0
      1b. APELLIOO / INDIVIDUAL'S SURNAME                                                  NOMBRE I FIRST PERSONAL NAME:                               SEGUNDO NOMBRE I ADDmONAL                SUFIJO
                                                                                                                                                       NAME:                                    /SUFFIX


1c. DIRECCION POSTAL/ MAILING ADDRESS                                                      CIUDAD / CITY                                               ESTADO I CODIGO POSTAL/ POSTAL PAJS
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      Minillas Government Center, South Building, Floor 17 San Juan                                                                                     PR        00940                          USA
2. NOMBRE DEL DEUDOR/ DEBTOR'S NAME: Provea solo un Deudor adl clonal (2• o 2b) (Use el nombre comple to y exacto: no omits, mo<fl1Ique o ebrevle nlnguna
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     complelo en al ranglOn 10 en el Anerjo de la DeclaraclOn de Flnanciamlento (Form• UCC1AdPR) I Provide only llll!! Deblornamo (2a or 2bL.Luse exact, lull name; do nol om«,
     modify, or sbbravfate any pert ofths Debtor's neme): If any pert of the lndivicluel Debtor's name wf/1 not fd In line 2b, leave all of ftem 2 blank. chack nereLJend provide the lndMdual Debtor
     Information In item 10 of the Financing Stolement Addsndum (Form UCC1AdPR)

      2a. NOMBRE DE LA ENTIDAD I ORGANIZATION'S NAME


OR
      2b. APELLIDO / INDIVIDUAL'S SURNAME                                                  NOMBRE / FIRST PERSONAL NAME                                SEGUNDO NOMBRE / ADDITIONAL              SUFIJO
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2c. DIRECCION / MAILING ADDRESS                                                            CIUDAD / CITY                                               ESTAOO ICCDIGO POSTAL/ POSTAL PAIS
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      SECURED PARTY'S NAME (or NAME of ASSIGNEE)· Provide only one Secured Party name (3a or 3b)
      3a. NOMBRE DE LA ENTIDAD I ORGANIZATION'S NAME

      Holders of all bonds ("1968 Resolution Bonds") issued under Resolution 68-18.
OR
      3b. APELUOO I INDIVIDUAL'S SURNAME                                                   NOMBRE / FIRST PERSONAi. NAME                               SEGUNDO NOMBRE / ADDITIONAL              SUFIJO
                                                                                                                                                       NAME                                     SUFFIX

3c. OIRECCIQN POSAL I MAILING ADDRF:SS                                                     CIUDAD / CITY                                               ESTADO I CCDIGO POSTAL I POSTAL PAIS
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      1675 Broadway, 34th Floor                                                             New York                                                   NY         10019                          USA
4. COLATERAL: Esta declarac16n de finanaamIento cubre ta s1guIente colateral: / COLLATERAL: This finencmg statemGnl covers the following collateral:
All of the Debtor's rights, dfle, and interest in and to {i) all moneys on account of gasoline tax received by, or allocated to, the Debtor pursuant to Act No. 75 of 1965, as
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of cigarette tax received by, or allocated to, the Debtor pursuant to Act No. 30 of 2013. as amended; {v) tolls or other charges imposed by the Debtor for the use of roads,
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other facTiities for parking, loading or unloading of vehicles and vessels for which 1968 Resolution Bonds were or will be issued; (vi) funds and accounts pledged as security
for the 1968 Reso!Utlon Bonds and Investment earnings therein; and (vii) the proceeds of any other taices, fees or charges that the Legislature of Puerto Rico has allocated o
may hereafter allocate to the Authortty and authorize the Authorlty to pledge to the payment of principal and Interest on bonds or other obligations of the Authority.


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7. OESIGNAC ION ALTERNA (si opllca)
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6. DATOS OPCIONALES DE REFERENCIA PARA El
SOLICITANTE I OPTIONAL FILER REFERENCE DATA:


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          Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                                                                                                                         Desc:
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      UCC FINAN.CING STATEMENT
      FOLLOW INSTRUCTIONS

       A. NAME & PHONE Of CONTACT AT FILER [optional)


       B. E-MAIL CONTACT AT FILER (oplionaf)


       C. SEND ACKNOWLEDGMENT TO: (Name and Address)


                                                                                                                     7
          '                            Corporation Service Company

                                       801 Adlai Stevenson Drive

          L                            Springfield, IL 62703                                                         _J                   TiiE ABOVE SPACE JS FOR FILING OFFICE USE ONLY
      1. DEBTOR'S NM1E: Provide only~ 0eblor name (1a or <b) (u,e eXBc\, fun name: do net omil, modify, or ebbn:-,iale any par! of the Oeblofs name): II ar.y pert of the Individual Debtor's
          name will not flt In line 1b, ·eave aH or Item 1 bl2nk, cileck l'.are       D anc provide the lndM:ruat Debtor inlorrn.ation In item 10 or the Fioancin; Slalemant Addendum (Form UCC1 Ad)
             1a ORCAN1ZATION'S NAME
                  PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
      OR
             1b ·N0MDUAL'S SURNAME                                                                          FlRSTPERS0NAl NA/,<E                                         AOOL71CNAL NAME(S}'INITIAL(S)                  SUfFI;(


       le MAILING ADDRE.SS
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                                                                                                            CITY
                                                                                                            San Juan
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                                                                                                                                                                                                                        USA
      2. DEBTOR'S NAME: ProVide only= Deblor name {2a or 2b) (use exact. full name: do not omit. modify or abbreviate any part of Inc O,::blor's nome): if a11y part or ltie lodl•it!ual ~blO<'s
           name Mil not fit in Rna 2b, leave Bil of Item 2 blank, cl'etk t,en,    0 and !"'Vide Lhe Individual □~btor inlorma!lon in item 1a oi the Financing Statement Adoendum {Form UCC1Ad) ·
             2a OOGANllAT!0N"S NAME

     OR
             2b ,'IDMOUAL'S SURNAME:                                                                        FlilST ?ERSONAL NAME                                        ADDITIONAL NAME(S}'INl'TIAl!S)                  SUFFL)(


      2c MAILING ADDRESS                                                                                    CIT(                                                         STATE     l POSTAL CODE                        COUNTRY



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      3.. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY• Prov de 0111v !!!!!; S•cure:l a>ariv N!Jlle l3a or 31>)
             3e. ORGANIZATION'S NAME
                 HOLDERS OF ALL BONDS ISSUED UNDER THE 1998 RESOLUTION *
      OR     3b INDMDUAL'S SURNAME                                                                          FIRST PERSONAL i~AME           -·---                         ADDITIONAL NAME(S)IINITIAL{S)                  SUFFIX


       3c MAILING ADDRESS
            One Wall Street
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      4. COLI.ATF.RAL: Tli.s. finanr.ing Slalemenl covers the fonovrin9 collateral:


             --· REFER TO EXHIBIT A ATTACHED HERETO, INCORPORATED HEREIN BY REFERENCE AND MADE A
           PART HEREOF. ---

                                                       Exhibit A attached hereto consists of two pages. - -


          .. HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE PUERTO RICO
          HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26, 1998, TOGETHER WITH ALL
          AMENDMENTS THERETO THEREAFTER.AS THEREIN PERMITTED


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      FILING OFFICE COPY -                   UCC FINANCING STI\TI:MENT (FOl'm UCCl) [Rev M/20/~ 1)




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      Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                             Desc:
                             Monolines Ex. 54 Page 39 of 40
,,.



                                                    EXHIBIT A

                             UNIFORM COMMERCIAL c~~E FINANCING sPfA.1~1\.f~kfH3= 0 1


          DEBTOR:

                          PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
                          Minillas Government Center, South Building
                          San Jnan, Puerto Rico 00921

          SECURED PARTY~

          HOLDERS OF ALL BONDS ISSUED UNDER RESOLUTION 98-06 ADOPTED BY THE
          PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY ON FEBRUARY 26,
          1998, TOGETHER WITH ALL AMENDMENTS THERETO THEREAFTER AS THERE1N
          PERMITTED
                                   One Wall Street
                                   New York, New York 10286

                                          COLLATERAL DESCRIPTION

                   Pursuant to that certain Resolution No. 98-06 adopted on February 26, 1998 (as the same
                                                                   04
          maybe amended or supplemented from time to time, the 1998 Resolution"), all of the Debtor's
          right, title and interest in and to (a) all "Revenues," which include, without limitation, (i) all
          moneys received by the Debtor on account of the crude oil tax allocated to the Debtor by Act No.
          34, approved July 16, 1997, as amended, (ii) all Existing Tax and Fee Revenues upon the repeal
          and cancellation of the 1968 Resolution, (iii) any tolls or other charges imposed by the Debtor
          for the use of any of the Toll Facilities other than Existing Toll Facilities Revenues received by
          the Debtor prior to the repeal and cancellation of the 1968 Resolution and (iv) the proceeds of
          any other taxes, fees or charges which the Legislature of Puerto Rico has allocated or may in the
          future allocate to the Debtor and has expressly authorized or in the future expressly authorizes
          the Debtor to pledge to the payment of the principal of and interest on bonds or other obligations
          of the Debtor and which are pledged by the Debtor to the payment of the principal of and interest
          on bonds or other obligations issued under the provisions of the 1998 Resolution, and investment
          earnings on deposits to the credit of funds established under the provisions of the 1998
          Resolution, (b) the Puerto Rico Highways and Transportation Authority Transportation Revenue
          Bonds Interest and Sinking Fund (and all accounts created therein by or pursuant to the I 998
          Resolution, including without limitation, the "Senior Bond Service Account," "Senior Bond
          Redemption Account," and "Senior Bond Reserve Acc01mt") , the Puerto Rico Highways and
          Transportation Authority Subordinated Transportation Revenue Bonds Interest and Sinking Fund
          (and all accounts created therein by or pursuant to the 1998 Resolution, including without
          limitation, the "Subordinated Bond Service Account" and "Subordinated Bond Redemption
          Account"), the· Puerto Rico Highways and Transportation Authority Subordinated Transportation
          Revenue Bonds Reserve Fund (and all accounts created therein by or pursuant to the 1998
          Resolution), the Puerto Rico Highways and Transportation Authority Transportation Revenue
          Fund (and all accounts created therein by or pursuant to the 1998 Resolution) and the Puerto


          71 [)972992 14!158010                      Page 1 of 2




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Case:17-03283-LTS Doc#:18815-12 Filed:10/27/21 Entered:10/27/21 09:09:47                                  Desc:
                       Monolines Ex. 54 Page 40 of 40



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      Rico Highways and Transportation Authority Transportation Construction Jfm\.~f•fi~"&~llfilii~RC! i~'
    · created and designated by th~ 1998 Resolution and all other accounts and fw.½?.-~~?~~~t~J,Y i9~ -:,: Ol
      pursuant to the 1998 Resolution; and (c) all proceeds and products of the foregduig.P 1 • ' .)

              When used herein, the following tenns have the fol]owing meanings:

     "1968 Resolution" means Resolution No. 68-18 adopted by the Debtor on June 13, 1968, as
     amended by supplemental resolutions of the Debtor adopted on February 17, 1972, October 29,
     1990, June 23, 1992, July 15, 1993 (effective September 8, 1993) and August 10, 1993, together
     with all amendments thereto thereafter as therein permitted.

     "1968 Resolution Bonds" means all bonds issued under the 1968 Resolution.

    "Existing Tax and Fee Revenues" means (I) the proceeds of the sixteen cents a gallon tax
    imposed on gasoline and one-half of the eight cents per gallon tax imposed on gas oil and diesel
    oil imposed by Subtitle B of Act No. 120, approved October 31, 1994, as amended, and allocated
    to the Debtor by Act No. 223 of November 30, 1995, as amended, and by said Act's predecessor
    statutes and (2) the proceeds of the $15 increase per vehicle of annual motor vehicle license fees
    imposed by the Commonwealth of Puerto Rico and allocated to the Debtor by Act No. 9,
    approved August 12, 1982.

     "Existing Toll Facilities Revenues" means the tolls or other charges imposed by the Debtc;ir for
     the use of any Traffic Facilities :financed in whole or in part by the issuance of 1968 Resolution
     Bonds, incluiling any extensions, betterments or improvements to such Traffic Facilities added
     after the issuance of bonds under the provisions of Section 207 of the 1998 Resolution however
     financed or othetwise paid for.

     "Toll Facilities" means any Traffic Facilities for which the Debtor imposes tolls.

     "Traffic Facilities" means any of the following facilities for which 1968 Resolution Bonds or
     bonds or other obligations shall be issued by the Debtor under the provisions of the 1998
     Resolution the cost of which facilities paid from the proceeds of such bonds or other obligations
     shall not have been reimbursed. to the Debtor from funds not encumbered by the 1998 Resolution
     or the 1968 Resolution:

              (1) roads, avenues, streets, thoroughfares, speedways, bridges, tunnels, channels, stations,
                  terminals and any other land or water facilities necessary or desirable in connection
                  with the movement of persons, freight, vehicles or vessels;
              (2) parking lots and structures and other facilities necessary or desirable in connection
                  with parking, loading or unloading of all kinds of vehicles or vessels; and
              (3) all property rights, easements, and interests therein necessary or desirable for the
                  construction, maintenance, control, operation or development of such traffic facilities.




     7109729-92 144S8O10                          Page 2 of 2




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